      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 1 ofFulton
                                                                  158 County Superior Court
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                                                                      Date: 7/3/2017 6:50:28 PM
                                                                      Cathelene Robinson, Clerk

           IN THE SUPERIOR COURT OF FULTON COUNTY
                       STATE OF GEORGIA

DONNA CURLING, an individual;            )
                                         )
COALITION FOR GOOD                       )
GOVERNANCE, a non-profit corporation )
organized and existing under Colorado    )
Law;                                     )
                                         )
DONNA PRICE, an individual;              )
                                         )
JEFFREY SCHOENBERG, an individual; )
                                         )
LAURA DIGGES, an individual;             )
                                         )
WILLIAM DIGGES III, an individual;       )
                                         )
RICARDO DAVIS, an individual;            )
                                         )
             Plaintiffs,                 )
                                         )
      v.                                 )       CIVIL ACTION 2017CV292233
                                         )       FILE NO.:
BRIAN P. KEMP, in his individual         )
capacity and his official capacity as    )
Secretary of State of Georgia and        )
Chair of the STATE ELECTION BOARD; )             DEMAND FOR
                                         )       JURY TRIAL
DAVID J. WORLEY, REBECCA N.              )
SULLIVAN, RALPH F. “RUSTY”               )
SIMPSON, and SETH HARP, in their         )
individual capacities and their official )
capacities as members of the STATE       )
ELECTION BOARD;                          )

                                       1
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 2 of 158




                                            )
THE STATE ELECTION BOARD;                   )
                                            )
RICHARD BARRON, in his individual           )
capacity and his official capacity as       )
Director of the FULTON COUNTY               )
BOARD OF REGISTRATION AND                   )
ELECTIONS;                                  )
                                            )
MARY CAROLE COONEY, VERNETTA )
NURIDDIN, DAVID J. BURGE, STAN              )
MATARAZZO and AARON JOHNSON )
in their individual capacities and official )
capacities as members of the FULTON         )
COUNTY BOARD OF REGISTRATION )
AND ELECTIONS;                              )
                                            )
THE FULTON COUNTY BOARD OF                  )
REGISTRATION AND ELECTIONS;                 )
                                            )
MAXINE DANIELS, in her individual           )
capacity and her official capacity as       )
Director of VOTER REGISTRATIONS             )
AND ELECTIONS FOR DEKALB                    )
COUNTY;                                     )
                                            )
MICHAEL P. COVENY, ANTHONY                  )
LEWIS, LEONA PERRY, SAMUEL                  )
E. TILLMAN, and BAOKY N. VU                 )
in their individual capacities and official )
capacities as members of the DEKALB         )
COUNTY BOARD OF REGISTRATIONS )
AND ELECTIONS;                              )
                                            )
THE DEKALB COUNTY BOARD OF                  )

                                        2
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 3 of 158




REGISTRATIONS AND ELECTIONS;           )
                                       )
JANINE EVELER, in her individual       )
capacity and her official capacity as  )
Director of the COBB COUNTY            )
BOARD OF ELECTIONS AND                 )
REGISTRATION;                          )
                                       )
PHIL DANIELL, FRED AIKEN, JOE          )
PETTIT, JESSICA BROOKS, and            )
DARRYL O. WILSON in their individual )
capacities and official capacities as  )
members of the COBB COUNTY             )
BOARD OF ELECTIONS AND                 )
REGISTRATION;                          )
                                       )
THE COBB COUNTY BOARD OF               )
ELECTIONS AND REGISTRATION;            )
                                       )
MERLE KING, in his individual capacity )
and his official capacity as Executive )
Director of the CENTER FOR ELECTION )
SYSTEMS AT KENNESAW STATE              )
UNIVERSITY; and                        )
                                       )
THE CENTER FOR ELECTION                )
SYSTEMS AT KENNESAW STATE              )
UNIVERSITY                             )
                                       )
              Defendants.              )

 VERIFIED COMPLAINT FOR DECLARATORY RELIEF, INJUNCTIVE
             RELIEF, AND WRIT OF MANDAMUS




                                     3
         Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 4 of 158




       COMES NOW, Plaintiffs, named above, to show this Honorable Court the

following for their Complaint against the above-named Defendants:



I.      INTRODUCTION

        This is a case about the insecurity of Georgia’s voting system, and those

who are responsible for ensuring its security. Because of the insecurity of

Georgia’s voting system and the lack of voter-verifiable paper ballots, the precise

outcome of the June 20, 2017 Runoff Election between Karen Handel and Jon

Ossoff for Georgia’s 6th Congressional District (“Runoff”) cannot be known. This

uncertainty, which violates the rights of those who cast their ballots, was caused by

the Defendants’ misconduct, negligence, abuse of discretion, and noncompliance

with the federal Constitution, federal law, the Georgia Constitution and Georgia

law.

                                          1.

        In August of 2016 Logan Lamb (“Lamb”), a professional cybersecurity

researcher curious about the Center for Election Systems at Kennesaw State

University (“CES”), which is responsible for overseeing, maintaining, and securing

the electronic election infrastructure for the state of Georgia, discovered that he

was able to access key parts of Georgia’s electronic election infrastructure through




                                           4
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 5 of 158




CES’s public website on the internet. Affidavit of Logan Lamb, June 30, 2017,

attached as “Exhibit A.”

                                          2.

      Lamb immediately alerted CES to the serious security vulnerabilities that he

had discovered, advising CES that they should “Assume any document that

requires authorization has already been downloaded without authorization.”

Exhibit A at ¶5.

                                          3.

      CES did not secure the vulnerabilities. Exhibit A at ¶7.

                                          4.

      Lamb had discovered that CES had improperly configured its server and had

failed to patch a security flaw that had been known since 2014. These mistakes

allowed anyone to access the internal information stored on CES’s servers. Those

documents included “a database containing registration records for the state’s 6.7

million voters; multiple PDFs with instructions and passwords for election workers

to sign in to a central server on Election Day; and software files for the state’s

ExpressPoll pollbooks — electronic devices used by pollworkers [sic.] to verify

that a voter is registered before allowing them to cast a ballot. There also appeared

to be databases for the so-called GEMS servers. These Global Election




                                           5
        Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 6 of 158




Management Systems are used to prepare paper and electronic ballots, tabulate

votes and produce summaries of vote totals.”1 Exhibit A at ¶4.

                                              5.

       Lamb discovered that he could access via the internet all of Georgia’s voter

registration records, including personally identifiable information, documents with

election day passwords to access the central server for the election, and the code

that was to be used to run the election. This information was everything a bad actor

(such as a hacker) would need in order to interfere with the election.

                                              6.

       It is unknown how long CES had left this data exposed before Lamb

discovered it.

                                              7.

       In addition, the documents Lamb discovered included training videos, at

least one of which “instructed users to first download files from the

elections.kennesaw.edu website, put those files on a memory card, and insert that

card into their local county voting systems.” Exhibit A at ¶11. Such a procedure

would result in election workers ensuring that whatever code existed on CES’s

website ended up on voting machines. This would be a serious security concern,

1
  Kim Zettter, Will the Georgia Special Election Get Hacked, Politico, June 14, 2017,
http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-election-get-
hacked-215255, (last visited June 30, 2017)


                                              6
        Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 7 of 158




creating the possibility of malicious software being uploaded to voting machines in

Georgia, if CES’s servers were compromised, as in fact they were.

                                              8.

       Georgia law explicitly allows the Secretary of State to, “at any time, in his or

her discretion,” reexamine the voting machines used in Georgia, and to prevent

their use if they “can no longer be safely and accurately used.” O.C.G.A § 21-2-

379.2. Despite this, CES and the Secretary of State allowed elections in 2016 and

2017 to be run on this compromised system with the knowledge that they could not

be presumed to be able to be “safely or accurately used by electors.” Id.

                                              9.

        It is presently unknown if any party interfered with Georgia’s elections in

2016 or 2017. But according to then-Director of the Federal Bureau of

Investigation (“FBI”), James Comey, hackers were “scanning” election systems in

the lead up to the election in the fall of 2016.2 Subsequent reporting has suggested

that as many as 39 states were targeted.3 Secretary of State Brian Kemp (“Kemp”),

through his spokesman, denied that Georgia was one of the states so targeted.4



2
  Kristina Torres, Georgia Not One of 20 States Targeted by Hackers Over Election Systems,
Atlanta Journal Constitution, September 30, 2016, (http://www.ajc.com/news/state--regional-
govt--politics/georgia-not-one-states-targeted-hackers-over-election-
systems/FvCGGjulVUm7VNMp8a9vuO/ (last visited June 30, 2017)
3
  Michael Riley and Jordan Robertson, Russian Cyber Hacks on U.S. Electoral System Far
Wider Than Previously Known, BloombergPolitics, June 13, 2017,


                                              7
        Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 8 of 158




                                             10.

       What is known is that the United States Department of Homeland Security

(“DHS”) held a call with election officials to discuss cybersecurity concerning the

election in August 2016. At this time, DHS offered assistance to any state that

wanted help securing its electronic election infrastructure.5 Kemp, on behalf of

Georgia, refused that offer of assistance to secure Georgia’s voting systems.6

Kemp said the offer amounted to an attempt to “subvert the Constitution to achieve

the goal of federalizing elections under the guise of security.”7

                                             11.

       Despite the warning from DHS, upon information and belief, no responsible

official or entity, including Kemp, CES, or any election official, took action to

ensure the security of Georgia’s election infrastructure.




https://www.bloomberg.com/news/articles/2017-06-13/russian-breach-of-39-states-threatens-
future-u-s-elections (Last visited June 30, 2017)
4
  Kristina Torres, State Considers Dropping Election Data Center, Atlanta Journal Constitution,
June 14, 2017, http://www.myajc.com/news/state--regional-govt--politics/state-considers-
dropping-election-data-center/YLERatmHYmLEqnOjUng2GL/ (last visited June 30, 2017)
5
  DHS Press Office, Readout of Secretary Johnson’s Call With State Election Officials on
Cybersecurity, Department of Homeland Security, August 15, 2016,
https://www.dhs.gov/news/2016/08/15/readout-secretary-johnsons-call-state-election-officials-
cybersecurity (last visited June 30, 2017)
6
   Marshall Cohen and Tom LoBianco, Hacking the Election? Feds Step in as States Fret Cyber
Threats, CNN, September 23, 2016, http://www.cnn.com/2016/09/23/politics/ohio-pennsylvania-
election-2016-hack/index.html, (last visited June 30, 2017)
7
  Id.


                                               8
        Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 9 of 158




                                             12.

       Seven months after Lamb was able to access critical information concerning

Georgia’s voting systems via CES’s publicly available website on the internet,

another researcher was able to do the same. On or about March 1, 2017, Chris

Grayson (“Grayson”), a colleague of Lamb’s, discovered that CES had not fixed

all of the security issues identified by Lamb in August 2016. That is, from at least

August of 2016 to March of 2017 – a time period that overlapped with known

attempts by Russia to hack elections in the United States – CES left exposed for

anyone on the internet to see and potentially manipulate: voter registration records,

passwords for the central server, and election related applications.8

                                             13.

       Lamb confirmed Grayson’s findings and determined that he was able to

download information he had accessed in August 2016, as well as new information

which had since been uploaded. Exhibit A at ¶8.

                                             14.

       The newly discovered information included more recent files related to

software, information related to the 2016 Presidential election, and files dated

2017. Exhibit A at ¶8.

8
 Kim Zetter, Will the Georgia Special Election Get Hacked, Politico, June 14, 2017,
http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-election-get-
hacked-215255 (last visited June 30, 2017).


                                              9
          Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 10 of 158




                                          15.

          When Lamb notified CES directly of the issue in August 2016, Merle King,

the Executive Director of CES, allegedly told him, “It would be best if you were to

drop this now,” and warned that if Lamb did talk “the people downtown, the

politicians … would crush [him].”9

                                          16.

          This time in March 2017, rather than notifying CES directly, Grayson

notified Andrew Green, a colleague and a faculty member at Kennesaw State

University (“KSU”). Email Chris Grayson to Andrew Green, March 2, 2017,

attached as “Exhibit B.” On information and belief, Mr. Green notified KSU’s

University Information Technology Services (“UITS”) Information Security

Office, which in turn appears to have notified CES. KSU’s UITS Information

Security Office is not directly affiliated with CES. KSU UITS Information

Security Office, “Incident Report,” April 18, 2017, attached as “Exhibit C.”

                                          17.

          Within an hour of Grayson’s notification, the KSU UITS Information

Security Office established a firewall to isolate CES’s server. Exhibit C, pages 1-2.

It is not known why such action was not taken by CES after Lamb’s notification in

August 2016.

9
    Id.


                                           10
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 11 of 158




                                        18.

      The day after Grayson’s notification, the KSU UITS Information Security

Office seized CES’s server to preserve evidence “for later analysis and handoff to

federal authorities.” Exhibit C, page 2. It is not known why such action was not

taken by CES after Lamb’s notification in August 2016.

                                        19.

      Two days after Grayson’s notification, the FBI was alerted and took

possession of the server. Exhibit C, page 1. It is not known why such action was

not taken by CES after Lamb’s notification in August 2016.

                                        20.

      CES’s information technology staff, which had previously been outside of

KSU’s Information Security Office, were then “realigned” to be a part of KSU’s

information security structure. Exhibit C, page 1. It is not known why such action

was not taken after Lamb’s notification in August 2016.

                                        21.

      Following the realignment, CES’s information technology staff conducted a

walkthrough, a cursory examination of the physical IT structure, with the KSU

UITS Information Security Office. Exhibit C, page 1. This review led to the

elections backup server also being physically removed. Id. It is not known why

such action was not taken after Lamb’s notification in August 2016.


                                         11
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 12 of 158




                                          22.

      The walkthrough revealed numerous other security failures at CES. Exhibit

C, pages 3-4. These failures included the absence of a working lock on the door to

the private elections server closet, the presence of a wireless access point in the

CES facility, and live access to an external network in the private network closet.

Id.

                                          23.

      The “Incident Report” also found that no security assessment had been done

on the supposedly isolated CES network. Exhibit C, page 4.

                                          24.

      CES was first alerted to Grayson’s access to their systems on March 1, 2017.

The “Incident Report” on this matter was completed on April 18, 2017 – which

happened to be the date of the Special Election for Georgia’s 6th Congressional

District (“Special Election”).

                                          25.

      Georgia law explicitly allows the Secretary of State to, “at any time, in his or

her discretion,” reexamine the voting machines used in Georgia, and to prevent

their use if they “can no longer be safely and accurately used.” O.C.G.A § 21-2-

379.2. Despite this, CES, the Secretary of State, and other Defendants allowed the

April 18, 2016 Special Election to be run on this compromised system with the


                                          12
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 13 of 158




knowledge that they could not be presumed to be able to be “safely or accurately

used by electors”. Id. Furthermore, the Various County Board of Elections and

Registration Defendants had the authority to use paper ballots when a voting

system is impracticable to use. O.C.G.A. §21-2-218.

                                        26.

      Despite this authority, duty, and ability to avoid unsafe systems, the

Defendants allowed the Special Election to be run on a compromised system.

Despite the knowledge of this compromised system, the Defendants refused to use

the only safe method for conducting the election—paper ballots. This is especially

important because Georgia uses a Direct Electronic Recording (“DRE”) voting

machine, along with various voting, and tabulation programs that, when working

properly, directly record an elector’s vote on an electronic medium but do not

produce a paper record that is verifiable by the voter (“Georgia’s DRE-Based

Voting System”).



                                        27.

      While Lamb and Grayson’s access to CES’s supposedly secure systems was

being investigated, others were sounding the alarm about the security of Georgia’s

elections infrastructure with the nationally watched Special Election




                                         13
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 14 of 158




and the June 20, 2017 Runoff Election for Georgia’s 6th Congressional District

(“Runoff”) pending.

                                             28.

       For example, on March 15, 2017, a group over 20 experts in the field of

computer security and voting systems sent a letter to Kemp expressing their

concerns with the security of Georgia’s election systems in light of the reported

breach at CES.10 And on March 16, 2017, the Democratic Party of Georgia, also

responding to those reports, wrote Kennesaw State University, and copied Kemp,

expressing concerns over the security of the election.11

                                             29.

       None of these warnings appear to have resulted in any remedial action on the

part of any of the Defendants.

                                             30.

       On April 15, 2017, an additional known security breach occurred when

electronic poll books, containing a voter registration database and software to

program voter access cards, were stolen from an election worker’s truck where he



10
   Verified Voting Blog: Technology Experts’ Letter to Georgia Secretary of State Brian Kemp,
VerifiedVoting, March 14, 2017, https://www.verifiedvoting.org/verified-voting-letter-to-
georgia-secretary-of-state-brian-kemp/ (last visited June 30, 2017)
11
   Letter from Chairman DuBose Porter, Democratic Party of Georgia to President Samuel
S.Olens, Kennesaw State University, March 16, 2017, http://www.georgiademocrat.org/wp-
content/uploads/2017/03/KSU-Letter-of-Request-031617.pdf (last visited June 30, 2017)


                                              14
        Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 15 of 158




had left them unattended while grocery shopping.12 The Chairman of the Cobb

County GOP was quoted as saying that, “The theft could just be a random thing,

but the timing makes it much more worrisome, […] I think there is cause to be

concerned about the integrity of the elections.”13 Poll books are used to confirm the

voter’s name and address and to create a voter access card that has key information

on it, information used to indicate the ballot style to which that voter is entitled to

vote.

                                             31.

        This theft of electronic poll books did not cause Kemp to take any action

such as decertifying the DRE-Based Voting System or calling for the use of paper

ballots, nor did it cause any of the other Defendants to fulfill their duty to employ a

safe and legal system of voting on paper ballots.

                                             32.

        The Special Election experienced technical problems, including voters being

sent from one precinct to another and then back to their original precincts due to

glitches in the electronic poll book software.14 Another error caused by the


12
   Christopher Wallace, New details emerge in theft of Ga. Voting machines, Fox News April 18,
2017, http://www.foxnews.com/politics/2017/04/18/new-details-emerge-in-theft-ga-voting-
machines.html, (last visited June 30, 2017.)
13
   Id.
14
   Kim Zetter, Will the Georgia Special Election Get Hacked, Politico, June 14, 2017,
http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-election-get-
hacked-215255 , (last visited June 30, 2017)


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        Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 16 of 158




uploading of improper and unauthorized memory cards—something the system is

not supposed to allow—resulted in errors and delays in uploading election

results.15 These errors were sufficiently severe that Kemp called for an

investigation into them.16 No results from this investigation have been announced,

nor has the public been told that it has been completed. Yet with that pending

investigation ongoing, the Defendants instructed that the Runoff be conducted on

the same voting system.

                                              33.

       On May 10, 2017, based on the publicly available information, and fearing

that the Runoff could be compromised, a group of Georgia electors utilized their

rights under O.C.G.A §21-2-379.217 and requested that Georgia’s DRE-Based

Voting System be reexamined. On May 15, 2017, a second letter was sent

explaining the irreversible security issues in the system and a request that the

voting system be reexamined. Two additional letters followed, on May 19 and June

2, requesting a timely response. No answer was received until after the electors


15
   Arielle Kass, ‘Rare Error’ Delays Fulton County Vote Counts in 6th District Race, Atlanta
Journal Constitution, April 19, 2017, http://www.ajc.com/news/local-govt--politics/rare-error-
delays-fulton-county-vote-counts-6th-district-race/dleYXJvjL1R9gSsw1swwAJ/ (last visited
June 30, 2017)
16
   Aaron Diamant and Berndt Petersen, State Opens Investigation into Issues With 6th District
Race, WSBTV, May 26, 2017, http://www.wsbtv.com/news/local/atlanta/state-opens-
investigation-into-issues-with-6th-district-race/514213222 (last accessed June 30, 2017)
17
   “Any ten or more electors of this state may, at any time, request the Secretary of State to
reexamine any such system previously examined and approved by him or her.”


                                               16
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 17 of 158




filed suit on May 25 against Kemp over his lack of response. See Curling v. Kemp,

Case No. 2017CV290630.

                                         34.

      The Secretary of State’s Office did not respond to the elector’s requests until

June 5, 2017. It indicated that it would complete the reexamination in

approximately six months, putting the completion date after the date of elections

that will be held in November. Letter from C. Ryan Germany to various electors,

June 5, 2017, attached as “Exhibit D.”

                                         35.

      Pending the reexamination, and despite the fact that Georgia law allows for

voting to be done by paper ballot if the electronic system is unusable, the Secretary

of State declined to use his authority under O.C.G.A §21-2-379.2 to prevent the

use of voting machines for the Runoff. Exhibit D. The County Defendants likewise

declined to use their authority under O.C.G.A. § 21-2-334 or § 21-2-28 to issue

paper ballots for the Runoff.

                                         36.

      Notwithstanding the known problems – known incidents of unauthorized

access into Georgia’s election system, the known lax security, concerns about

potentially undetected breaches, the stolen electronic poll books, other security

failures, glitches in the Special Election pollbook operations, known errors in the


                                         17
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 18 of 158




April 18 tabulation process, and the pending request for reexamination – the

Defendants all allowed the Runoff to be conducted using Georgia’s DRE-Based

Voting System, rather than by paper ballot.

                                          37.

       All of this took place against the backdrop of Georgia’s election systems

being particularly vulnerable as has been documented for 15 years by voting

system experts and computer scientists.

                                          38.

       The State of Georgia uses a Direct-Recording Electronic (“DRE”)-based

voting system to conduct its elections. DRE machines, when working properly,

directly record a voter’s ballot choices to an electronic storage medium for

tabulation. DRE voting machines, unlike other voting methods, do not allow voters

to verify that their votes have been correctly recorded and do not create auditable

paper records of how votes were cast. Affidavit of Edward W. Felten, ¶¶5-6,

attached as “Exhibit E.” This absence of a paper trail is the reason “computer

scientists and cybersecurity experts typically recommend against the use of DREs.”

Id. at ¶7.



                                          39.




                                          18
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 19 of 158




      Security researchers have repeatedly demonstrated that the hardware and

software of these types of machines is vulnerable to hacking. Exhibit E. For

example, in 2006, security researchers from Princeton, including Edward W.

Felten, were able to hack an AccuVote TS, the primary machine in use in Georgia,

in under four minutes using just $12 worth of tools.18 This hack allowed them to

infect a single AccuVote TS machine in a way that would spread to the total

election results when the device’s memory card was used to tabulate the results.19

They were able to prove that these machines could be physically hacked in a

matter of minutes, that malicious software could be installed, and that malicious

software could then spread.20 See Exhibit E. Since these machines do not provide a

voter-verified paper ballot, there is no independent method to confirm that votes

were counted, and counted as cast.

                                           40.

      Because of security concerns, several states have decertified these voting

machines and/or the software running on them. For example, in 2006 Maryland’s




18
   Daniel Turner, How to Hack an Election in One Minute, MIT Technology Review, September
18, 2016, https://www.technologyreview.com/s/406525/how-to-hack-an-election-in-one-minute/
(last visited June 30, 2016).
19
   Id.
20
   Id.


                                            19
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 20 of 158




House of Delegates voted unanimously to stop using these machines21 and in 2009

the Secretary of State for the State of California decertified the code running on

them, GEMS 1.18.19.22 The version of GEMS that California decertified was only

three minor revisions earlier than the version of GEMS now being used in Georgia,

GEMS 1.18.22.G!.

                                             41.

       The security problems are exacerbated by the age of Georgia’s voting

machines, which are more than a decade old and run on antiquated software.

Electronic voting devices over ten years old are generally understood to have

surpassed their expected life span, after which core components begin to break or

malfunction.23 Worse, as the Brennan Center for Justice notes, older machines have

more security vulnerabilities than newer devices and so are more susceptible to

hacking and outside interference. Further, they tend to run outdated software on




21
   Common Sense in Maryland, New York Times, March 23, 2006,
http://www.nytimes.com/2006/03/23/opinion/common-sense-in-maryland.html?mcubz=1 (last
visited June 30, 2017)
22
   Withdrawal of Approval of Premier Election Solutions, Inc./Diebold Election Systems, Inc.,
GEMS 1.18.19, Office of the Secretary of State of the State of California, March 30, 2009,
http://votingsystems.cdn.sos.ca.gov/vendors/premier/premier-11819-withdrawal-
approval033009.pdf (last visited June 30, 2017)
23
   Kristina Torres, An Election Primer on Georgia’s Voting System and Ballot Security, Atlanta
Journal Constitution, September 9, 2016, http://www.myajc.com/news/state--regional-govt--
politics/election-primer-georgia-voting-system-and-ballot-security/yedbpzowTMxdeBOwjHlkZP
(last visited June 30, 2017)


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       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 21 of 158




outdated and no longer manufactured hardware leading to additional difficulties

and security issues.24

                                            42.

       These problems are exacerbated by the fact that Georgia uses just one kind

of machine, running one set of software for its elections, programed by and

downloaded from one central location—CES. Exhibit E at ¶26. This makes

Georgia far easier to target than states that use multiple systems distributed and

managed at a county level across the state, as only one vulnerability needs to be

exploited. The public knows that the system was vulnerable because two

researchers accessed it from the internet. In Georgia, a bad actor could manipulate

the state’s electoral process by targeting and infiltrating CES.

                                            43.

       The fact that the electronic infrastructure is centralized at a single location,

CES, provides an additional point of vulnerability. Since CES exposed passwords

to the server, exposed code, left key rooms unlocked, and permitted unauthorized

internet access, a malicious hacker could tamper with the election tabulation

programming and results. See Exhibit A and Exhibit C. In other states, a single




24
 https://www.brennancenter.org/sites/default/files/publications/Americas_Voting_Machines_At
_Risk.pdf pages 12-17).


                                            21
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 22 of 158




point of failure would not render the entire state’s election suspect as most use

decentralized--and properly certified and operated--systems.

                                         44.

      The DRE-Based Voting System used by Georgia creates no paper trail by

which the accuracy of the vote can be verified. See Exhibit E. There is no physical

record to ensure that votes are counted, and counted as cast.

                                         45.

      As Dr. Felten notes, “Because of the vulnerability of the DRE voting

machines to software manipulation, and because of the intelligence reports about

highly skilled cyber-attackers having attempted to affect elections in the United

States, [stringent] precautions appear to be indicated for the CES systems. In the

absence of stringent precautions to find and expel potential intruders in the CES

systems, the ability of voting-related systems that have been in the CES facility to

function correctly and securely should be viewed with greater skepticism.” Exhibit

E at ¶ 29.

                                         46.

      Georgia began using a DRE-based system to conduct its elections in 2002.

The devices used were certified for use by the then Secretary of State, Cathy Cox.

Certification of Election Systems for use in Georgia, attached as “Exhibit F.”

Secretary of State Cox again certified these systems in 2003, 2004, 2005, and


                                          22
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 23 of 158




2006. Id. Her successor, Karen Handel, certified the system that was used in 2007.

Id. An examination of the certifications on file suggests that this is the last time a

Georgia Secretary of State certified the voting system in use—albeit without

explicitly opining on the safety and accuracy of the voting system of the State of

Georgia, as is further required by §21-2-379.2 (a).

                                          47.

      Kemp has not once--in the past seven years of his two terms in office as

Secretary of State--certified that Georgia’s election system “can be safely and

accurately used by electors at primaries and elections,” as required by Georgia law.

O.C.G.A §21-2-379.2. By knowledge and belief, this violates Georgia law because

the system has changed since its last certification in 2007--ten years ago.

                                          48.

      O.C.G.A §21-2-379.2(b) states that if, upon examination or reexamination

the Secretary of State believes “the kind of system so examined can be safely and

accurately used by electors at primaries and elections” he shall make and certify a

report to that effect and store such a report in his office. O.C.G.A §21-2-379.2(c)

states that “No kind of direct recording electronic voting system not so approved

shall be used at any primary or election.”




                                          23
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 24 of 158




                                          49.

      Despite not being certified for use, and despite the pending request for

reexamination, Kemp and all Defendants allowed the uncertified and compromised

systems to be used in the Runoff.

                                          50.

      The right to vote is the foundation of our democracy. It is how we ensure

that our government has the consent of the governed. It is enshrined in the

Constitution of the United States and in the Constitution of the State of Georgia.

Electors have the right to vote, the right to do so by secret ballot, the right to have

their ballot accurately tabulated, and the right to be assured that their vote will be

counted and recorded accurately. When electors cannot trust that their vote will be

accurately counted and recorded, it has a chilling effect and violates those rights.

When votes are not properly recorded or counted, then those rights have been

violated. In fact, the Georgia Constitution at Article II, Section I, provides the

unusual measure of protection for the purity of elections and Georgia electors’

rights by incorporating the requirement to comply with all election statutes in the

State Constitution.

                                          51.

      All of this motivates the present case. The U.S. electoral system has been

under attack. Georgia’s elections are particularly vulnerable to attack, as the state


                                           24
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 25 of 158




uses old, outdated systems with security flaws. Georgia refused help from the DHS

to protect its voting systems. Kemp never certified that the system in currently use

is safe and accurate—and he has been in office since January 2010. CES was

improperly secured, and CES allowed key information to be accessible via the

internet—from at least August 2016 until March 2017. After that, the voting

system was not forensically tested and analyzed to ensure that it was secure prior

to the Special Election or the Runoff.

                                         52.

      Electors have constitutional rights to know that their votes will be accurately

recorded and tabulated. Given the circumstances under which the Runoff was held,

electors who voted using Georgia’s DRE-Based Voting System cannot be certain

that their votes were recorded or counted as cast. Consequently, considerable doubt

has been cast on the results of the election as a result of the aforementioned

irregularities and misconduct of officials.



II.   JURISDICTION AND VENUE



                                         53.

      Plaintiffs bring claims under the United States Constitution, the Georgia

Constitution, and the laws of the State of Georgia. This Court has jurisdiction


                                          25
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 26 of 158




based upon O.C.G.A. §§ 9-4-1 to -10 to grant declaratory relief; based upon

O.C.G.A. §§ 9-5-1 to -11 to grant injunctive relief; and based upon O.C.G.A. §§ 9-

6-20 to -28 to grant relief by way of issuing the writ of mandamus.

                                          54.

       Venue in this Court is proper under O.C.G.A. § 9-10-30 because Fulton

County is the county of residence of at least one of the Defendants against whom

substantial equitable relief is prayed. The principal office of the Secretary of

State’s Elections Divisions is located at 2 Martin L. King Jr. Drive SE, Suite 1104,

Atlanta, Fulton County, Georgia, 30334, as such, jurisdiction and venue are proper

in this Court.



III.   PLAINTIFFS



                                          55.

       Plaintiff DONNA CURLING (“Curling”) is an elector of the State of

Georgia and a resident of Fulton County and the 6th Congressional District of the

State of Georgia. Curling is a member of the COALITION FOR GOOD

GOVERNANCE. Curling is an “aggrieved elector who was entitled to vote” for a

candidate in the Runoff under O.C.G.A. § 21-2-521. Furthermore, the ballot

system under which she cast her vote substantially burdens her right to vote, as the


                                          26
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 27 of 158




system is fundamentally insecure, is illegally employed, and cannot be reasonably

relied upon to have properly recorded and counted her vote and the votes of other

electors. As such, she has standing to bring her claims.

                                         56.

      Plaintiff COALITION FOR GOOD GOVERNANCE. (“CGG”), is a non-

profit corporation organized and existing under the laws of the State of Colorado

(formerly Rocky Mountain Foundation). CGG’s purpose is to advance the

constitutional liberties and individual rights of citizens, with an emphasis on

elections, by--among other activities--engaging in and supporting litigation. CGG

is a membership organization. Its membership includes Curling, Donna Price

(“Price”), and other electors of the State of Georgia who reside in, variously,

Fulton County, Cobb County, DeKalb County, and the 6th Congressional District

of the State of Georgia. Several of CGG’s Georgia elector members voted in the

Runoff.

                                         57.

      Plaintiff CGG has associational standing to bring this complaint on behalf of

CGG’s Georgia individual elector members because (1) those members would

otherwise have standing to sue in their own right; (2) the interests CGG seeks to

protect are germane to CGG’s purpose; and because (3) with the exception of




                                          27
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 28 of 158




Courts IV and V, the relief requested herein does not require the participation of

CGG’s individual Georgia elector members in the lawsuit.

                                         58.

      Plaintiff DONNA PRICE is an elector of the State of Georgia and a resident

of DeKalb County. Price was among the Georgia electors who signed the May 10,

2017 and May 17, 2017 letters requesting that Kemp re-examine the state’s voting

system. Also, Price casts her ballot under a system which substantially burdens her

right to vote, as the system is fundamentally insecure and illegally employed, and

cannot be reasonably relied upon to record and count her votes properly and the

votes of other voters. As such, she has standing to bring a writ of mandamus claim.

                                         59.

      Plaintiff JEFFREY SCHOENBERG (“Schoenberg”) is an elector of the

State of Georgia and a resident of DeKalb County and the 6th Congressional

District of the State of Georgia. Schoenberg is also an “aggrieved elector who was

entitled to vote” for a candidate in the Runoff under O.C.G.A. § 21-2-521.

Furthermore, the ballot system under which he cast his vote substantially burdens

his right to vote, as the system is fundamentally insecure and illegally employed,

and cannot be reasonably relied upon to have properly recorded and counted his

vote and the votes of other voters. As such, he has standing to bring his claims.




                                         28
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 29 of 158




                                       60.

      Plaintiff LAURA DIGGES (“L. Digges”) is an elector of the State of

Georgia and a resident of Cobb County and the 6th Congressional District of the

State of Georgia. L. Digges is also an “aggrieved elector who was entitled to vote”

for a candidate in the Runoff under O.C.G.A. § 21-2-521. Furthermore, the ballot

system under which she cast her vote substantially burdens her right to vote, as the

system is fundamentally insecure and illegally employed, and cannot be reasonably

relied upon to have properly recorded and counted her vote and the votes of other

voters. As such, she has standing to bring her claims.

                                         61.

      Plaintiff WILLIAM DIGGES III (“W. Digges”) is an elector of the State of

Georgia and a resident of Cobb County and the 6th Congressional District of the

State of Georgia. W. Digges is an “aggrieved elector who was entitled to vote” for

a candidate in the Runoff under O.C.G.A. § 21-2-521. Furthermore, the ballot

system under which he cast his vote substantially burdens his right to vote, as the

system is fundamentally insecure and illegally employed, and cannot be reasonably

relied upon to have properly recorded and counted his vote and the votes of other

voters. As such, he has standing to bring her claims.




                                         29
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 30 of 158




                                          62.

      Plaintiff RICARDO DAVIS (“Davis”) is an elector of the State of Georgia

and a resident of Cherokee County. Davis was among the Georgia electors who

signed the May 10, 2017 and May 17, 2017 letters requesting that Kemp re-

examine the state’s voting system. Also, Davis casts his ballot under a system

which substantially burdens his right to vote, as the system is fundamentally

insecure and illegally employed, and cannot be reasonably relied upon to record

and count his votes properly and the votes of other voters. As such, he has standing

to bring a writ of mandamus claim.



IV.   DEFENDANTS



                                          63.

      Defendant BRIAN P. KEMP is the Secretary of State of Georgia and, in that

role, is also Chair of the State Election Board. In his official and individual

capacity, he is responsible for the orderly and accurate administration of Georgia’s

the electoral processes. This responsibility includes the duty to approve the use of

Georgia’s voting systems and to conduct any reexaminations of Georgia’s voting

systems, upon request or at his own discretion. O.C.G.A. § 21-2-379.2(a)-(b). See

O.C.G.A. § 21-2-50.


                                          30
        Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 31 of 158




                                          64.

        Defendants DAVID J. WORLEY, REBECCA N. SULLIVAN, RALPH F.

“RUSTY” SIMPSON, and SETH HARP (“Members of the State Election Board”)

are members of the State Election Board in Georgia. In their individual capacities

and their official capacities as members, they are responsible for (1) promulgating

rules and regulations to ensure the legality and purity of all elections, (2)

investigating frauds and irregularities in elections, and (3) reporting election law

violations to the Attorney General or appropriate district attorney. O.C.G.A. § 21-

2-31.

                                          65.

        Defendant STATE ELECTION BOARD (“State Board”) is responsible for

(1) promulgating rules and regulations to ensure the legality and purity of all

elections, (2) investigating frauds and irregularities in elections, and (3) reporting

election law violations to the Attorney General or appropriate district attorney.

O.C.G.A. § 21-2-31.

                                          66.

        Defendant RICHARD BARRON (“Barron”) is the Director of the Fulton

County Board of Elections and Registration. In his official and individual capacity,

he was responsible for conducting the Special Election and the Runoff in Fulton

County.


                                           31
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 32 of 158




                                        67.

      Defendants MARY CAROLE COONEY, VERNETTA NURIDDIN,

DAVID J. BURGE, STAN MATARAZZO, and AARON JOHNSON (“Members

of Fulton County Board of Registration and Elections”) are members of the Fulton

County Board of Registration and Elections. In their official and individual

capacities, they were responsible for conducting the Special Election and Runoff in

Fulton County.

                                        68.

      Defendant FULTON COUNTY BOARD OF ELECTIONS AND

REGISTRATION (“Fulton Board”) is responsible for conducting elections in

Fulton County, including the Runoff.

                                        69.

      Defendant MAXINE DANIELS (“Daniels”) is the Director of Voter

Registrations and Elections for DeKalb County. In her official and individual

capacity, she is responsible for conducting the elections in DeKalb County,

including the Runoff.

                                        70.

      Defendants MICHAEL P. COVENY, ANTHONY LEWIS, LEONA

PERRY, SAMUEL E. TILLMAN, and BAOKY N. VU (“Members of DeKalb

County Board of Registrations and Elections”) are members of the DeKalb County


                                         32
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 33 of 158




Board of Registration and Elections. In their official and individual capacities, they

were responsible for conducting the Special Election and Runoff in DeKalb

County.

                                         71.

      Defendant DEKALB COUNTY BOARD OF ELECTIONS AND

REGISTRATION (“DeKalb Board”) is responsible for conducting elections in

DeKalb County, including the Runoff.

                                         72.

      Defendant JANINE EVELER (“Eveler”) is the Director of the Cobb County

Board of Elections and Registration. In her official and individual capacity, she is

responsible for conducting the elections in Cobb County, including the Runoff.

                                         73.

      Defendants PHIL DANIELL, FRED AIKEN, JOE PETTIT, JESSICA

BROOKS, and DARRYL O. WILSON (“Cobb County Board of Elections and

Registration”) are members of the Cobb County Board of Elections and

Registration. In their official and individual capacities, they were responsible for

conducting the Special Election and Runoff in Cobb County.




                                          33
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 34 of 158




                                         74.

      Defendant COBB COUNTY BOARD OF ELECTIONS AND

REGISTRATION (“Cobb Board”) is responsible for conducting elections in Cobb

County, including the Runoff.

                                         75.

      Defendant MERLE KING (“King”) is Executive Director of the Center for

Election Systems at Kennesaw State University. In his official and individual

capacities, he is responsible for overseeing and maintaining Georgia’s DRE-Based

Voting System registration systems used in the Special Election and the Runoff.



                                         76.

      Defendant THE CENTER FOR ELECTION SYSTEMS AT KENNESAW

STATE UNIVERSITY is responsible for overseeing and maintaining Georgia’s

DRE-Based Voting System used in the Special Election and the Runoff.



V.    FACTUAL ALLEGATIONS



                                         77.

      The allegations of paragraphs 1 through 76 above are hereby incorporated as

the allegations of this paragraph 77 in this complaint.


                                          34
        Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 35 of 158




                                              78.

       Plaintiffs are electors of the State of Georgia, and an association that

includes among its members electors of the State of Georgia, who are concerned

about the integrity, credibility, security, and reliability of the electoral process.

                                              79.

       Their concern about the integrity, credibility, security, and reliability of the

electoral process has led them to oppose the general use of Georgia’s unsafe,

uncertified, insecure, and inaccurate voting system (“Georgia’s direct-recording

electronic (‘DRE’)-Based Voting System”), and specifically its use during the

Runoff.

       A.     GENERAL ALLEGATIONS

                                              80.

       On June 20, 2017, the Runoff was held to fill a vacancy left by the previous

incumbent, Congressman Tom Price. Advance voting in the Runoff began on May

30, 2017, pursuant to O.C.G.A. § 21-2-385(d). On June 26, 2017 Karen Handel

was certified as the winner of the election.25 26




25
  Kemp Certifies June 20 Runoff, Office of the Secretary of State of the State of Georgia, June
27, 2017, http://sos.ga.gov/index.php/general/kemp_certifies_june_20_runoff (last visited July 3,
2017)


                                               35
        Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 36 of 158




                                                81.

        Georgia’s 6th Congressional District spans portions of Fulton, Cobb, and

DeKalb counties.

                                                82.

        O.C.G.A. § 21-2-379.2(c) prohibits the use, in any primary or election, of

any kind of DRE voting system not approved by the Secretary of State at any

primary or election.

                                                83.

        Georgia’s DRE-Based Voting System, as currently in use in all 159 of

Georgia’s counties consists of the following configuration of components and

related firmware and software:

     • Optical Scan: AccuVote OS 1.94W

     • Touch Screen: R6 – Ballot Station 4.5.2! and TSx – Ballot Station 4.5.2!




26
  O.C.G.A. § 21-2-524 requires that “A petition to contest the result of a primary or election
shall be […] within five days after the official consolidation of the returns of that particular
office or question and certification thereof by the election official having responsibility for
taking such action under this chapter.” This would place the filing deadline on Saturday July 1,
2017. O.C.G.A. § 1-3-1(c) states “when a period of time measured in days, weeks, months,
years, or other measurements of time except hours is prescribed for the exercise of any privilege
or the discharge of any duty, the first day shall not be counted but the last day shall be counted;
and, if the last day falls on Saturday or Sunday, the party having such privilege or duty shall have
through the following Monday to exercise the privilege or to discharge the duty.” Thus the
deadline for filing a challenge to the Runoff is July 3, 2017.




                                                36
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 37 of 158




   • ExpressPoll: ExpressPoll 4000 and 5000 running software; Easy Roster;

      2.1.2 and Security Key 4.5+

   • Election Management System: GEMS 1.18.22G!

   • Honeywell barcode scanner: MK1690-38-12-ISI, used with ExpressPoll

      pollbooks

(Together, the foregoing will be known as “Georgia’s DRE-Based Voting

System”). There is no evidence that any Secretary of State ever approved of or

certified the system as safe and accurate in its current form.

                                         84.

      Defendant Barron and the Fulton Board used Georgia’s DRE-Based Voting

System to conduct the Special Election and Runoff in Fulton County.

                                         85.

      Defendant Daniels and the DeKalb Board used Georgia’s DRE-Based

Voting System to conduct the Special Election and Runoff in DeKalb County.

                                         86.

      Defendant Eveler and the Cobb Board used Georgia’s DRE-Based Voting

System to conduct the Special Election and Runoff in Cobb County.

                                         87.

      O.C.G.A. § 21-2-379.2(a) grants to any ten or more concerned electors the

right to require the Secretary of State “at any time” to conduct a reexamination of a


                                          37
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 38 of 158




previously examined and approved DRE voting system. Specifically, O.C.G.A. §

21-2-379.2(a) reads as follows:

      (a) Any person or organization owning, manufacturing, or selling, or being

      interested in the manufacture or sale of, any direct recording electronic

      voting system may request the Secretary of State to examine the system.

      Any ten or more electors of this state may, at any time, request the Secretary

      of State to reexamine any such system previously examined and approved by

      him or her. Before any such examination or reexamination, the person,

      persons, or organization requesting such examination or reexamination shall

      pay to the Secretary of State the reasonable expenses of such examination.

      The Secretary of State may, at any time, in his or her discretion, reexamine

      any such system.

      The clear intent of the statute is to permit a timely re-examination of a

      voting system in question prior to a pending election.

                                         88.

      O.C.G.A. § 21-2-379.2(b) provides that, upon receiving such a request for

reexamination from ten or more electors, the Secretary of State has a duty to

reexamine the DRE voting system. The statute reads as follows:

      (b) The Secretary of State shall thereupon examine or reexamine such direct

      recording electronic voting system and shall make and file in his or her


                                         38
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 39 of 158




      office a report, attested by his or her signature and the seal of his or her

      office, stating whether, in his or her opinion, the kind of system so examined

      can be safely and accurately used by electors at primaries and elections as

      provided in this chapter. If this report states that the system can be so used,

      the system shall be deemed approved; and systems of its kind may be

      adopted for use at primaries and elections as provided in this chapter.

                                          89.

      O.C.G.A. § 21-2-379.2(c) provides that, if reexamination shows that a DRE

voting system “can no longer be safely or accurately used” then the approval of

that system “shall immediately be revoked by the Secretary of State; and no such

system shall thereafter … be used in this state.” (emphasis added). The statute

reads as follows:

       (c) No kind of direct recording electronic voting system not so approved

      shall be used at any primary or election and if, upon the reexamination of

      any such system previously approved, it shall appear that the system so

      reexamined can no longer be safely or accurately used by electors at

      primaries or elections as provided in this chapter because of any problem

      concerning its ability to accurately record or tabulate votes, the approval of

      the same shall immediately be revoked by the Secretary of State; and no




                                          39
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 40 of 158




      such system shall thereafter be purchased for use or be used in this state.

      (emphasis added).



                                         90.

      Georgia’s election laws contemplate that elections normally required to be

conducted using voting equipment may instead be conducted using paper ballots if

circumstances so require.

                                         91.

      First, O.C.G.A. § 21-2-334 provides as follows:

      § 21-2-334. Voting by ballot

      If a method of nomination or election for any candidate or office, or of

      voting on any question is prescribed by law, in which the use of voting

      machines is not possible or practicable, or in case, at any primary or

      election, the number of candidates seeking nomination or nominated for any

      office renders the use of voting machines for such office at such primary or

      election impracticable, or if, for any other reason, at any primary or election

      the use of voting machines wholly or in part is not practicable, the

      superintendent may arrange to have the voting for such candidates or offices

      or for such questions conducted by paper ballots. In such cases, paper ballots

      shall be printed for such candidates, offices, or questions, and the primary or


                                         40
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 41 of 158




      election shall be conducted by the poll officers, and the ballots shall be

      counted and return thereof made in the manner required by law for such

      nominations, offices, or questions, insofar as paper ballots are used.

                                         92.

      Second, O.C.G.A. § 21-2-281 provides as follows:

      § 21-2-281. Use of paper ballots where use of voting equipment impossible

      or impracticable

      In any primary or election in which the use of voting equipment is

      impossible or impracticable, for the reasons set out in Code Section 21-2-

      334, the primary or election may be conducted by paper ballot in the manner

      provided in Code Section 21-2-334.

                                         93.

      Third, O.C.G.A. § 21‑2, Article 11, Part 2, provides the detailed procedures

that are required to be used in precincts that conduct primaries and elections using

paper ballots.



B.    KNOWN SECURITY AND ACCURACY PROBLEMS IN GEORGIA’S

DRE-BASED VOTING SYSTEM



                                         94.


                                         41
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 42 of 158




      Georgia’s DRE-Based Voting System is subject to widely known safety and

accuracy concerns as summarized in the affidavits of Professor Duncan Buell and

Professor Edward Felten. Affidavit of Duncan Buell, attached as “Exhibit G” and

Exhibit E, respectively.

                                          95.

      In considering the use of Georgia’s DRE-Based Voting System, its inherent

deficiencies and recent security failures must be acknowledged. These inherent

deficiencies and recent security failures include, but are not limited to:

                                          96.

      First, the legal--but still troubling--infiltration of Georgia’s DRE-Based

Voting System via CES’s public webpage by Lamb in August 2016 and again in

March 2017 by Grayson. See Exhibit A.

                                          97.

      Second, numerous critical security vulnerabilities and deficiencies were

identified prior to the Special Election and Runoff at CES. CES is responsible for

ensuring the integrity of the voting systems and developing and implementing

security procedures for the election management software installed in all county

election offices and voting systems. CES also is responsible for programming these

systems for each election, and providing all counties with instructions for

accessing the system’s software. A security breach at CES could have dire security


                                          42
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 43 of 158




consequences for the integrity of the technology used for elections in Georgia.

CES’s security and cybersecurity was reviewed at a high level “walkthrough”

review by KSU UITS Information Security Office. See Exhibit C. This

walkthrough discovered several immediately obvious security vulnerabilities were

reported in an incident report. Exhibit C, pages 2-4.

                                          98.

      Third, on May 24, 2017, after becoming aware of problems with the

electronic tabulation of the votes cast in Fulton County in the Special Election,

sixteen computer scientists wrote Defendant Kemp to express profound concerns

about the lack of verifiability and unacceptable security of Georgia’s DRE-Based

Voting System. Letter from various experts to Brian Kemp, Secretary of State,

May 24, 2015 Attached as “Exhibit H”. The computer scientists reiterated

cybersecurity concerns that many of them had expressed in a similar letter sent on

March 15, 2017, following the remote electronic intrusion into the Georgia’s

system in March 2017. Letter from various experts to Brian Kemp, Secretary of

State, March 15, 2017 Attached as “Exhibit I”, pages 1-2. The computer scientists

urged Defendant Kemp to treat the breach at CES “as a national security issue with

all seriousness and intensity.” Exhibit H, at 1. They stated that “a truly

comprehensive, thorough and meaningful forensic computer security investigation

likely would not be completed in just a few weeks.” Id. They warned that the error


                                          43
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 44 of 158




that occurred in Fulton County during the Special Election could indicate a

corrupted database that must be investigated. The computer scientists urged the use

of paper ballots. Id. at 2.

                                             99.

       Fourth, failures in Georgia’s DRE-Based Voting System caused improper

memory cards to be uploaded into the election database during the Special

Election. Upon information and belief, Defendant Barron told the Fulton County

Board of Commissioners that the system did not prevent the uploading of improper

election memory cards and data and only generated an unintelligible error message

when an attempt was made to export the results from the Global Election

Management System (“GEMS”) into the Election-Night Reporting system (a

separate internet-based application to report results to the public). Federal voting

system standards require controls that prevent the introduction of improper

memory cards. Unconventional procedures, including deleting precinct voting

results in the database, reportedly were used to correct this error, but the purported

corrections themselves lacked a verifiable audit trail. It was reported in the press

that Kemp initiated an investigation of the April 18 Fulton County system failure.27

On information and belief, that investigation has not been completed.

27
  Aaron Diamant and Berndt Petersen, State Opens Investigation into Issues With 6th District
Race, WSBTV, May 26, 2017, http://www.wsbtv.com/news/local/atlanta/state-opens-
investigation-into-issues-with-6th-district-race/514213222 (last accessed June 30, 2017)


                                              44
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 45 of 158




                                               100.

      Fifth, on all election nights, Fulton County transmits ballot data from

touchscreen machine memory cards to the GEMS tabulation server (i.e., the Global

Election Management System used in Georgia’s DRE-Based Voting System) via

modem in an unauthorized configuration that, on information and belief, does not

use adequate encryption. Voting system standards that are established by the state

require that security of data transmission be assured. The lack of security in

electronic transmission exposes the system to, and invites attack.

                                         101.

      Seventh, the physical security of DRE voting equipment used in Georgia’s

DRE Based Voting System has been inadequate during pre- and post-election

machine storage, leaving the machines vulnerable to attack and compromise.

                                         102.

      Seventh, upon information and belief, Georgia’s DRE-Based Voting System

does not meet minimum standards, including mandatory audit capacity standards,

required by the Help America Vote Act, 52 U.S.C. § 21081.

                                         103.

      Eighth, The DRE voting equipment used in Georgia’s DRE-Based Voting

System provides no audit trail or verifiable record that can be used to recover from

a malicious attack, human error, or software failure. Any such failure is difficult or


                                          45
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 46 of 158




impossible to detect--unlike errors in a paper ballot system, where problems can be

isolated and manually corrected to reflect the voter’s intent.

                                          104.

      Ninth, there are additional significant security and accuracy concerns that

precluded Georgia’s DRE-Based Voting System from being used safely and

accurately in the June 20 election. See Exhibits A, C, E, and G.

                                          105.

      Ninth, Georgia’s DRE-Based Voting System is fifteen years old, relies upon

a back-end database that is outdated, inadequate, and runs on an operating system

that is currently past its support life. Such a relatively old configuration is

inherently vulnerable to hacking, errors, and other mischief.



C.    DEFENDANT KEMP FAILED TO EXAMINE AND APPROVE THE

VOTING SYSTEM

                                          106.

      The Secretary of State is required by O.C.G.A. § 21-2-379.2 to formally

approve a voting system that can be “safely and accurately used.’’ No such

documentation exists for the DRE-based system used in recent years. Elections in

Georgia cannot be legally conducted on a system that is not approved as safe and

accurate by the Secretary of State.


                                           46
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 47 of 158




                                         107.

      Any new the Voting system deployed after April 17, 2005 is required to

meet the certification standards in Ga. Comp. R. & Regs. 590-8-1-.01. That

regulation requires compliance with the most recent Election Assistance

Commission (EAC) voting standards. Upon information and belief, Kemp has not

attempted to certify the system in use to those mandatory state standards, nor has

he certified that it does meet those standards although the current equipment

configuration constitutes a new system deployed after April 17, 2005.

                                         108.

      On May 10, 2017, a group of Georgia electors including Plaintiff Davis,

concerned about the security issues that had become public knowledge, filed a

formal request with Secretary Kemp seeking a re-examination of the equipment

under the provisions of O.C.G.A. § 21-2-379.2(a). No answer was received until

after the electors filed suit against Secretary of State Kemp over his lack of

response. See Curling v. Kemp, Case No. 2017CV290630. Upon information and

belief Kemp failed to conduct a timely review of the system either at his own

initiation or in response to the request of the concerned citizens.



D.    IMPROPER CERTIFICATION OF THE ELECTION RESULTS

                                         109.


                                          47
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 48 of 158




      As noted above, Georgia’s DRE-Based Voting System, used for the June 20

election has not been approved in compliance with the election code and

regulations, and its use renders an election illegal and unconstitutional under the

provisions of the Georgia State Constitution.

                                        110.

      To provide for election transparency citizen oversight of Georgia elections,

Georgia election regulations, provide for citizen initiated re-canvassing of any

precincts which seem to have erroneous results from the DRE-voting machines.

Ga. Comp. R. & Regs. 183-1-12. These regulations permit citizens to choose any

or all precincts to demand re-canvassing of the votes, by having the memory cards

reread by the tabulation server and conducted by the election officials prior to the

county-level certification of results. Members of CGG (then Rocky Mountain

Foundation) and other citizens wrote to Fulton County, DeKalb County and Cobb

County Defendant boards of elections prior to county-level certification specifying

the precincts they believe may contain erroneous results, and requesting a

recanvassing prior to the certification. See Letters to the Defendant DeKalb and

Cobb County Election Boards by various electors attached as “Exhibit J”. Upon

information and belief, a similar letter was also sent to the Fulton County Elections

Board. In each case, Defendant county officials denied their properly submitted

requests for recanvassing.


                                          48
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 49 of 158




                                         111.

       Prior to each county election board meeting, on behalf of its members who

are eligible electors in the 6th Congressional District, CGG filed a letter requesting

that each county board deny certification of the election because of the numerous

violations of law occurring during the conduct of the election. Letters to the

Defendant County Election Boards by CGG (then Rocky Mountain Foundation)

attached as “Exhibit K.” The letter and concerns expressed, upon information and

belief, were not discussed at any of the county board meetings. The boards simply

rubberstamped the results without concern about the legality or accuracy of the

returns.

                                         112.

       On information and belief, Secretary Kemp almost immediately certified the

consolidated return for the Runoff after the DeKalb County certification had taken

place, despite the fact that he was informed the Boards had violated electors’ rights

to seek a recanvass of precincts that appeared to show irregularities or questionable

results.



E.     Irreparable Harm / Inadequate Remedy at Law



                                         113.


                                          49
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 50 of 158




      Georgia electors who cast their votes in person during the Runoff were

required to cast their votes using Georgia’s DRE-Based Voting System.

                                        114.

      Georgia’s DRE-Based Voting System could not be used safely and

accurately by electors voting in the Runoff because Georgia’s DRE-Based Voting

System is demonstrably vulnerable to undetectable malfunctions and malicious

manipulation that cannot be corrected on a timely or reasonable basis

                                        115.

      Each Plaintiff and the Georgia elector members of Plaintiff CGG were

harmed in the exercise of their constitutional fundamental right to vote in the

Runoff because Georgia used an unsafe, unsecure, and uncertified DRE-Based

Voting System that was subjected to undetected, unauthorized access and potential

manipulation.

                                        116.

      Plaintiffs and the Georgia elector members of Plaintiff CGG cannot be

adequately compensated for these harms in an action at law for money damages.



VI.   COUNTS




                                         50
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 51 of 158




COUNT I: VIOLATION OF ARTICLE II, SECTION I, PARAGRAPH I, OF

                  THE GEORGIA CONSTITUTION OF 1983



 (All Plaintiffs, Against All Defendants In Individual Capacities, Except State

         Board, Fulton Board, DeKalb Board, Cobb Board, and CES)



                        Declaratory and Injunctive Relief

                    O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



            Enjoining Use of Georgia’s DRE-Based Voting System

                                        117.

      The allegation of paragraphs 1 through 116 above are hereby incorporated as

the allegations of this paragraph 117 of Count One of this complaint.

                                        118.

      Article II, Section 1, Paragraph 1 of the Georgia Constitution provides,

“Elections by the people shall be by secret ballot and shall be conducted in

accordance with procedures provided by law.”

                                        119.

      Elections must be conducted in accordance the statutes and regulations of

the State of Georgia.


                                         51
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 52 of 158




                                         120.

      The Runoff was not conducted in accordance with the “procedures provided

by law” because the DRE-Based Voting System was in violation of O.C.G.A. § 21-

2-379.1(8) at the time of the Runoff. O.C.G.A. § 21-2-379.1(8) provides that DRE-

Based Voting Systems “shall, when properly operated [by an elector], register or

record correctly and accurately every vote cast.”

                                         121.

      Georgia’s DRE-Based Voting System violated O.C.G.A. § 21-2-379.1(8)

during the Runoff because as a likely compromised system, it cannot be trusted to

“record correctly and accurately every vote cast,” even when “properly operated”

by electors. Defendants knew that the system had been unsecured, breached and

compromised and could not be presumed to be safe or in compliance with statute

and governing regulations.

                                         122.

      Additionally, the Runoff was not conducted in accordance with the

“procedures provided by law” because the DRE-Based Voting System used was in

violation of O.C.G.A. § 21-2-379.2. O.C.G.A 21-2-379.2(a) requires the Secretary

of State to reexamine the voting system, if “[a]ny ten or more electors of this state

request the Secretary of State to reexamine any such system previously examined

and approved by him or her.” Id.


                                          52
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 53 of 158




                                       123.

      That was not done here. Ten Georgia electors requested Kemp re-examine

the DRE-Based Voting System prior to the Runoff on four separate occasions: on

May 10, 17, and 19, and June 2, 2017. Secretary Kemp’s office responded to the

request on June 5, 2017, stating that re-examining the system would cost $10,000

and take six months. Exhibit D. Declining to reexamine Georgia’s DRE-Based

Voting System prior to the Runoff or any currently scheduled 2017 elections.

                                       124.

      After a request to examine or reexamine a DRE-based voting system, “no

kind of [DRE] voting system” not so examined or reexamined “shall be used at any

primary or election.” O.C.G.A. § 21-2-379.2(c). Despite this, the DRE-Based

Voting System was used during the Runoff. Kemp was, or should have been,

aware that the system security had been compromised and for numerous reasons

could not pass certification standards nor be approved as “safe or accurate.” By

choosing to move forward, he abrogated his statutory duties and abused his

discretion.

                                       125.

      The importance of examining and reexamining a DRE-voting system prior

to elections is stressed in the Georgia Code. Upon examination, should it “appear

that the system… can no longer be safely or accurately used by electors” as


                                         53
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 54 of 158




provided under the Georgia Code “because of any problem concerning its ability to

accurately record or tabulate votes” then the Secretary of State should

“immediately” revoke his approval. O.C.G.A. §21-2-379.2(c). Indeed, given the

knowledge Kemp and other Defendants had of how noncompliant and insecure the

system was, Defendants had the duty to act to sideline the compromised system

even before the electors requested system re-examination.

                                         126.

      Since all Defendants individually and collectively did not act to ensure the

Runoff complied with the “procedures provided by law,” as alleged above, they

have violated the Georgia Constitution

                                         127.

      Georgia’s DRE-Based Voting System, as alleged throughout this complaint,

cannot be safely and accurately used, nor was it used in the Special Election or

Runoff in accordance with the Georgia Constitution or Georgia law.

                                         128.

      Accordingly, pursuant to O.C.G.A. § 9-4-2, Plaintiffs pray that this court

will declare that these Defendants have violated the Constitution. Pursuant to

O.C.G.A. § 9-4-3, Plaintiffs also pray that this court will enjoin Defendants to void

the election because accurate results tabulated in accordance with Georgia law




                                          54
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 55 of 158




cannot be determined. This court should also enjoin Defendants’ use of Georgia’s

DRE-Based Voting System for future elections.



        COUNT II: VIOLATION OF 42 USC § 1983 – DUE PROCESS



   (All Plaintiffs, Against All Defendants In Official Capacities Except State

         Board, Fulton Board, DeKalb Board, Cobb Board, and CES)



                          Declaratory and Injunctive Relief

                     O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



                                   42 USC § 1983

                                         129.

      The allegations of paragraphs 1 through 128 above are hereby incorporated

as the allegations of this paragraph 129 of Count Two of this complaint.

                                         130.

      42 U.S.C. § 1983 provides that “[e]very person who, under color of any

statute, ordinance, regulation, custom, or usage, of any State or Territory or the

District of Columbia, subjects, or causes to be subjected, any citizen of the United

States or other person within the jurisdiction thereof to the deprivation of any


                                          55
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 56 of 158




rights, privileges, or immunities secured by the Constitution and laws, shall be

liable to the party injured in an action at law, suit in equity, or other proper

proceeding for redress … .”

                                          131.

      The failure to comply with the Georgia Constitution and the Georgia Code

concerning elections is a violation of federal due process when the patent and

fundamental fairness of the election is called into question.

                                          132.

      Patent and fundamental fairness of an election is called into question when

allegations go well beyond an ordinary dispute over the counting and marking of

ballots. Such is the case here.

                                          133.

      Elected Georgia government officials—and those they control—denied the

electorate the right granted by Georgia Constitution to choose their elected official

in accordance with the procedures provided by state law. Ga. Const. art. II, § 1, ¶ 2.

These state officials include Defendants Kemp, Members of the State Board,

Barron, Members of the Fulton Board, Daniels, Members of the DeKalb Board,

Eveler, members of the Cobb Board, and King.

                                          134.




                                           56
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 57 of 158




      Defendants violated O.C.G.A. § 21-2-379.1(8) which provides that any DRE

system used in Georgia must, when properly operated by the elector, “record

correctly and accurately every vote cast.” Consistent with experts who state that

Georgia’s DRE-Based Voting System must be presumed to have been

compromised, it is more than probable that Georgia’s DRE-Based Voting System

was compromised prior to the Runoff and that the system could not correctly or

accurately count every vote during the Runoff. As a result, the tabulation of the

voters’ intent cannot reasonably be known.

                                        135.

      Instead, despite receiving multiple warnings that the DRE-Based Voting

System had been compromised--and knowing that that documents capable of

enabling a malicious attack were accessed and downloaded at least twice from the

CES without authorization--Kemp responded by stating that the system was secure

and that no review was needed. These actions amount to a purposeful and willful

substantial burdening of the fundamental right to vote.

                                        136.

      Additionally, Georgia’s DRE-Based Voting System must be properly

certified, reexamined, and approved by the Secretary of State prior to any election,

when so requested by ten or more electors. O.C.G.A. § 21-2-379.2; See Ga Comp.




                                         57
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 58 of 158




R. & Regs. 590-8-1.01. Here, the Secretary of State did not certify, reexamine or

approve the system. See Counts VII and VIII, respectively.

                                         137.

      By violating the Georgia Constitution, Georgia’s election officials

distributed to electors in Georgia’s 6th Congressional District an illegal ballot,

precluding their right to vote on a legal ballot in the Runoff. See Counts Count IV

and V, respectively.

                                         138.

      Under the circumstances alleged above, relief under 42 U.S.C. § 1983 is

warranted. Accordingly, Plaintiffs ask this Court to declare that these Defendants

have violated the fundamental right to due process of Plaintiffs and enjoin

Defendants to void the election. This court should also enjoin Defendants’ use of

Georgia’s DRE-Based Voting System for future elections.



   COUNT III: VIOLATION OF 42 USC § 1983 – EQUAL PROTECTION



  (All Plaintiffs, Against All Defendants In Official Capacities, Except State

         Board, Fulton Board, DeKalb Board, Cobb Board, and CES)



                        Declaratory and Injunctive Relief


                                          58
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 59 of 158




                      O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



                                    42 USC § 1983

                                          139.

      The allegations of paragraphs 1 through 138 above are hereby incorporated

as the allegations of this paragraph 139 of Count Three of this complaint.

                                          140.

      42 U.S.C. § 1983 provides that “[e]very person who, under color of any

statute, ordinance, regulation, custom, or usage, of any State or Territory or the

District of Columbia, subjects, or causes to be subjected, any citizen of the United

States or other person within the jurisdiction thereof to the deprivation of any

rights, privileges, or immunities secured by the Constitution and laws, shall be

liable to the party injured in an action at law, suit in equity, or other proper

proceeding for redress … .”

                                          141.

      The Equal Protection Clause of the Fourteenth Amendment mandates that

“[n]o State shall ... deny to any person within its jurisdiction the equal protection of

the laws.” U.S. Const. amend. XIV § 1.

                                          142.




                                           59
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 60 of 158




      The Plaintiffs are all similarly situated to other registered electors in the

Runoff who voted by paper ballot.

                                         143.

      The Secretary of State and Election Boards allowed electors using a paper

ballot to vote in the Runoff to vote using properly verifiable, recountable ballots.

These ballots are properly verifiable and recountable to the extent that they can be

counted manually, rather than counted electronically, in a manner necessarily

exposed to irregularity. Such paper ballots could be hand counted and reviewed for

verification by the court in the proceedings of this contest, although electronic

ballots cannot be verified in such a contest. The voters of the respective ballots

have their votes unequally weighted, with favorable treatment given to those who

voted by paper ballot.

                                         144.

      Comparatively, all Defendants forced electors using the DRE voting system

in the Runoff to vote using illegal and improperly certified ballots that cannot be

reviewed by the court in this election contest. These include Kemp, Members of

the State Board, Barron, Members of the Fulton Board, Daniels, Members of the

DeKalb Board, Eveler, members of the Cobb Board, and King.

                                         145.




                                          60
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 61 of 158




      Again, despite receiving warning that the DRE-Based Voting System had

been compromised—and knowing that that documents capable of enabling a

malicious attack were accessed and downloaded from the CES at least twice

without authorization—the Secretary of State responded by publicly repeatedly

stating that the system was secure and no review was needed. He also did so in the

face of overwhelming and repeated warnings from experts that the system must be

presumed to have been compromised, and that the results could not be considered

reliable. These actions by all Defendants amount to purpose and willful substantial

burdening of the right to vote.

                                       146.

      The electors who voted by paper ballot were able to vote in the election

using properly verifiable, recountable ballots, which can be counted and reviewed

under the supervision of this Court, while voters using the DRE system are not

reviewable–thus creating two classes of electors.

                                       147.

      The use of illegal and improperly constructed ballots in Georgia’s DRE-

Based Voting System severely infringed upon the Plaintiffs’ fundamental right to

vote by not providing the opportunity to cast a lawful vote in accordance with the

Georgia Constitution or code.

                                       148.


                                         61
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 62 of 158




      The burdens and infringements imposed upon these fundamental rights were

differentially imposed upon paper ballot voters and DRE system voters during the

Runoff without justification by any substantial or compelling state interest that

could not have been accomplished by other, less restrictive means. As the United

States Supreme Court has noted, “The right to vote is protected in more than the

initial allocation of the franchise. Equal protection applies as well to the manner of

its exercise. Having once granted the right to vote on equal terms, the State may

not, by later arbitrary and disparate treatment, value one person's vote over that of

another.” Bush v. Gore, 531 U.S. 98, 104-105 (2000) (citing Harper v. Virginia Bd.

of Elections, 383 U.S. 663, 665 (1966) (“[O]nce the franchise is granted to the

electorate, lines may not be drawn which are inconsistent with the Equal Protection

Clause of the Fourteenth Amendment.”). The Supreme Court continued, “It must

be remembered that ‘the right of suffrage can be denied by a debasement or

dilution of the weight of a citizen’s vote just as effectively as by wholly prohibiting

the free exercise of the franchise.’” Id. (quoting Reynolds v. Sims, 377 U.S. 533,

555 (1964)).

                                         149.

      Even under a rational basis standard, there is no rational basis for unequal

treatment of electors predicated on actions in violation of the Georgia Constitution

and Code.


                                          62
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 63 of 158




                                         150.

      Defendant’s conduct described herein violated the Fourteenth Amendment

right of the Plaintiffs to enjoy equal protection of the law.

                                         151.

      Under the circumstances alleged above, relief under 42 U.S.C. § 1983 is

warranted. Defendants showed purposeful and intentional disregard for the

fundamental and wholesale problems of the DRE-Based Voting System by not

reexamining the system, because they willfully, despite overwhelming evidence to

the contrary, refused to act on the fact that there were significant security threats

against Georgia’s non-compliant DRE-Based Voting System.

                                         152.

      Plaintiffs ask this Court to declare that these Defendants have violated the

fundamental right to equal protection of Plaintiffs and enjoin Defendants to void

the Runoff election, and declare a new election to be held as the only just relief

available under the laws of Georgia. Plaintiffs ask the Court to prohibit the use of

Georgia’s DRE-Based Voting System in future elections.



     COUNT IV: ELECTION CONTEST DUE TO MISCONDUCT AND

 IRREGULARITY -- USE OF UNSECURE UNCERTIFIED DRE-BASED

                                 VOTING SYSTEM


                                           63
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 64 of 158




  (By all Plaintiffs, except Price, Davis, and CGG, against all Defendants in

        their Official and Individual Capacities, except King and CES)



                        Declaratory and Injunctive Relief

                    O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



                               O.C.G.A. § 21-2-520

                                        153.

      The allegations of paragraphs 1 through 152 above are hereby incorporated

as the allegations of this paragraph 153 of Count Four of this complaint.

                                        154.

      Under O.C.G.A. § 21-2-520, a Contestant is entitled to “contest the result of

any primary or election.”

                                        155.

      A Contestant can be “any aggrieved elector who was entitled to vote” in an

election. O.C.G.A. § 21-2-520. Plaintiffs Curling, L. Diggs, B. Diggs, and

Schoenberg were all aggrieved electors in the Runoff. On June 26, 2017, Karen

Handel was certified as the winner of the Runoff.

                                        156.


                                         64
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 65 of 158




      An aggrieved elector has the right to contest the election by naming as a

defendant in a lawsuit the “election superintendent or superintendents who

conducted the contested primary or election.” O.C.G.A. § 21-2-520(c). Election

superintendents include either “the county board of elections [or] the county board

of elections and registration” as the case may be. O.C.G.A. § 21-2-2(35)(a)

Additionally, it can include the Secretary of State. See Dawkins-Haigler v.

Anderson, 799 S.E.2d 180 (2017). Here, Plaintiffs named such appropriate

defendants.

                                         157.

      Since Boards and their members are “superintendents” under the meaning of

this statute (including the State Board), by statute, the Defendants State Board,

Fulton Board, DeKalb Board, Cobb Board, as well as their respective individual

members, including Kemp as Chair of the State Board lack immunity to an election

contest claim. See O.C.G.A. § 21-2-520.

                                         158.

      The result of any election may be contested if, among other reasons, there is

“misconduct, fraud, or irregularity” on the part of any “election official or officials

sufficient to change or place in doubt the result.” O.C.G.A. § 21-2-522(1).

                                         159.




                                          65
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 66 of 158




      Here, the use of Georgia’s DRE-based voting system, given its lack of

required certification, compromised security, non-compliance with the election

code, and unverifiability of the system, amounts to an “irregularity” that, at a

minimum, “place[s] in doubt” the result of this election. O.C.G.A. § 21-2-522(1).

                                          160.

      Georgia’s DRE-Based Voting System, approved for use in the Runoff by

“election official or officials,” compromised the votes of approximately 232,712

electors. 232,712 votes are significantly greater than the purported margin of

victory in the Runoff – 9,702. Therefore, the certified results of the election are

placed in significant doubt.

                                          161.

      Accordingly, Plaintiffs file this petition to contest the Runoff election

results, in addition to their other claims herein. Plaintiffs pray this court declare

this election void ab initio the election and declare a new election to be held as the

only just relief available under the laws of Georgia.



 COUNT V - ELECTION CONTEST DUE TO IRREGULARITY -- USE OF

                               ILLEGAL BALLOTS




                                           66
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 67 of 158




(By all Plaintiffs, except Price, Davis and CGG, against all Defendants in their

              Official and Individual Capacities, except King and CES)



                         Declaratory and Injunctive Relief

                      O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



                                 O.C.G.A. § 21-2-520

                                          162.

      The allegations of paragraphs 1 through 161 above are hereby incorporated

as the allegations of this paragraph 162 of Count Five of this complaint.

                                          163.

      Electors in the Runoff who used Georgia’s DRE-Based Voting System to

cast their vote used illegal ballots. Illegal ballots are an “irregularity” by “an

election official or officials.” O.C.G.A. § 21-2-522(1); See Mead v. Sheffield, 278

Ga 268, 270 (2004).

                                          164.

      When illegal ballots are used, how electors voted on the illegal ballots is

irrelevant.




                                           67
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 68 of 158




                                         165.

      Instead, the question is whether the number of illegal ballots use is

“sufficient to change or place in doubt the result” of the election. The number of

illegal ballots is sufficient enough to change or place in doubt the result of the

election when the amount used by electors to cast their votes is greater than the

margin of victory. See Mead v. Sheffield, 278 Ga. 268, 270 (2004).

                                         166.

      In the Runoff, 260,455 ballots were cast. Of those ballots, approximately

232,712 were cast using the DRE system. The remaining 27,742 votes were cast by

paper ballot. 232,712 is significantly greater than the margin of victory in the

Runoff – 9,702. The paper ballots were also improperly counted through electronic

means, although they can be recounted by verifiable means in this proceeding.

Given the extensive use of illegal ballots, the results of the election are placed in

substantial doubt.

                                         167.

      The DRE ballots used in the Runoff were illegal because they did not adhere

to the Georgia Constitution or Code. When a ballot does not follow a mandate

from the Georgia Constitution or the Georgia Code the ballot is “illegal.” See

Mead v. Sheffield, 278 Ga. 268, 269 (2004).

                                         168.


                                           68
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 69 of 158




      Defendants State Board, Fulton Board, DeKalb Board, Cobb Board, as well

as their respective individual members, including Kemp as Chair of the State

Board bear statutory responsibility, as “superintendents,” for allowing illegal

ballots to proceed under the DRE-based system. See O.C.G.A. § 21-2-520. They

do not have immunity to this claim.

                                          169.

      Since the Runoff used illegal ballots in sufficient number to place the

election in doubt, Plaintiffs file this petition to contest the Runoff election results,

in addition to their other claims herein. Plaintiffs pray this court declare the Runoff

election void ab initio.



               COUNT VI: FAILURE TO RECANVASS VOTES



 (Plaintiff CGG Against Defendants Kemp, State Board, Barron, Members of

 the Fulton Board, Daniels, Members of the DeKalb Board, Eveler, Members

         of the Cobb Board, in their Official and Individual Capacities)



                           Declaratory and Injunctive Relief

                      O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3




                                           69
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 70 of 158




                          Ga. Comp. R. & Regs. 183-1-12

                                          170.

       The allegations of paragraphs 1 through 169 above are hereby incorporated

as the allegations of this paragraph 170 of Count Six of this complaint.

                                          171.

      Georgia law states: “The election superintendent shall, either of his or her

own motion, or upon petition of any candidate or political party or three electors of

the county or municipality, as may be the case, order a recanvass of all the memory

cards (PCMCIA cards) for a particular precinct or precincts for one or more offices

in which it shall appear that a discrepancy or error, although not apparent on the

face of the returns, has been made.” Ga. Comp. R. & Regs. 183-1-12-.02(7)(a).

                                          172.

      For the reasons alleged above, Georgia’s DRE-Based Voting System must

be assumed to have caused substantial discrepancies or errors in returns, even if

not apparent on the literal face of the returns.

                                          173.

      Plaintiff CGG includes members that petitioned the DeKalb Board and the

Cobb Board to recanvass certain precincts in both counties. See Exhibit J. Upon

information and belief members of Plaintiff CGG also sent such a letter to the

Fulton County Board. The precincts in which recanvassing was sought, were


                                           70
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 71 of 158




selected based on anomalous appearing results including extreme swings between

absentee mail in paper ballot voting results and election day results for votes cast

using Georgia’s DRE Based Voting System.

                                         174.

      Defendants Barron, Members of the Fulton Board, Daniels, Members of the

DeKalb Board, Eveler, and Members of the Cobb Board refused to recanvass these

precincts. Kemp’s office was notified of the Fulton BoE’s violation of electors’

rights on the morning of June 26, hours prior to his decision to certify the results of

the election. He chose not to remedy the Fulton BoE’s violation by ordering a

recanvass of the requested precincts, and ignored the properly filed request. This

action represents willful misconduct by Kemp.

                                         175.

      Defendants violated their duty under Ga. Comp. R. & Regs. 183-1-12.

Concurrently, they violated the citizen’s right of oversight and review.

                                         176.

      Plaintiffs pray this court declare that Defendants are in violation of their

duty to recanvass these precincts. Plaintiffs also pray that this court will enjoin

Defendants to void their respective certification of election results, and Kemp to

void the certification of the consolidated returns.




                                           71
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 72 of 158




   COUNT VII: LACK OF CERTIFICATION OF DRE-BASED VOTING

                                      SYSTEM



     (All Plaintiffs, Against Defendant Kemp, in His Individual Capacity)



                         Declaratory and Injunctive Relief

            O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3 and § 21-2-379.2



                         Ga. Comp. R. & Regs. 590-8-1-.01

                                          177.

      The allegation of paragraphs 1 through 176 above are hereby incorporated as

the allegations of this paragraph 177 of Count Seven of this complaint.

                                          178.

      Under Georgia law, the Secretary of State is responsible for approving

Georgia’s voting systems as safe and accurate under the provisions of § 21-2-379.2

and certifying Georgia’s voting systems under Ga. Comp. R. & Regs. 590-8-1-

.01(d)(7.) The purpose of the certification process is to ensure that “hardware,

firmware, and software have been shown to be reliable, accurate, and capable of

secure operation before they are used in elections in the state.” Id. at (a)(3).




                                           72
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 73 of 158




                                        179.

       Certification by the Secretary of State is not required on systems

implemented before April 17, 2005, unless there has been “a modification to the

hardware, firmware, or software of the voting system.” Id. At (b)(4). In such a

case, under Georgia regulations, the previous State certification becomes invalid.

                                        180.

       Upon information and belief, unlike his predecessors—former Secretary Cox

and former Secretary Handel—Kemp has not tested Georgia’s DRE-Based Voting

System in its current configuration although significant changes to the system have

been implemented since the most recent certification. Moreover, he has not

certified the DRE-Based Voting System in its current form.

                                        181.

       The system configuration was last certified in November 2007 by then

Secretary Handel. Since various components have been added and modified since,

without required new system certification, the system in use is not properly

certified.

                                        182.

       Kemp, by law, must certify any new system configuration, tested as an

integrated whole, before it can be used in any election. He has not. Georgia’s DRE-

Based Voting Systems during the Special Election and Runoff were, therefore,


                                          73
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 74 of 158




illegal. Kemp, upon information and belief, intends to keep using these uncertified

systems.

                                         183.

      Moreover, Plaintiff CGG (then-named Rocky Mountain Foundation) along

with multiple Georgia electors inquired about the certification of the system. See

Exhibit D. This resulted in an invitation to examine the certifications kept on file in

the Secretary of States’ Office. Id. A review of that file showed that no

certification existed for Georgia’s current DRE-system. See Exhibit F.

                                         184.

      Accordingly, pursuant to O.C.G.A. § 9-4-2, Plaintiffs pray that this court

will declare that these Kemp has not certified or approved the DRE-Based Voting

System in its present form, a violation of Georgia law. Pursuant to O.C.G.A. § 9-4-

3, Plaintiffs also pray that this court will enjoin Defendants’ use of Georgia’s

DRE-Based Voting System.



                     COUNT VIII: WRIT OF MANDAMUS

  (All Plaintiffs, Except Laura Digges, William Digges III, and Schoenberg,

             Against Defendant Kemp, in His Individual Capacity)



                                Writ of Mandamus


                                          74
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 75 of 158




           O.C.G.A. § 9-4-3 and O.C.G.A. § 9-4-2; O.C.G.A. § 9-6-20



 Requiring Exercise of the Public Duty to Reexamine Georgia’s DRE-Based

            Voting System Established By O.C.G.A. § 21-2-379.2(b)

                                         185.

      The allegation of paragraphs 1 through 184 above are hereby incorporated as

the allegations of this paragraph 185 of Count Eight of this complaint.

                                         186.

      Mandamus is a remedy for “government[al] inaction––the failure of a public

official to perform a clear legal duty.” Southern LNG, Inc. v. MacGinnitie, 294 Ga.

657, 661 (2014).

                                         187.

      Mandamus is warranted when (1) a public official has a clear legal duty to

perform an official act (as requested); (2) that the requesting party has a clear legal

right to the relief sought or that the public official has committed a gross abuse of

discretion; and (3) that there is no other adequate legal remedy. See Bland Farms,

LLC v. Georgia Dept. of Agriculture, 281 Ga. 192, 193 (2006); see also SJN

Props., LLC v. Fulton County Bd. of Assessors, 296 Ga. 793, 800 (2015); Trip

Network, Inc. v. Dempsey, 293 Ga. 520, 522 (2013); Goldman v. Johnson, 297 Ga.

115, 116 (2015).


                                          75
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 76 of 158




                                        188.

      The Georgia General Assembly has the power to determine the Secretary of

State’s clear legal duties. See Ga Const. art. 5, § 3, ¶ III (“[T]he General Assembly

shall prescribe the powers, duties, compensation, and allowances of… executive

officers...”). The General Assembly did so under O.C.G.A. § 21-2-50, which

requires the Secretary of State to “perform such other duties as may be prescribed

by law.”

                                        189.

      One clear duty of the Secretary of State, as prescribed by law, is that “the

Secretary of State may, at any time, in his or her discretion, reexamine any DRE-

based system.” O.C.G.A. § 21-2-379.2(a). The clear purpose Secretary of State’s

power to reexamine any DRE-based system at his discretion is to ensure that the

DRE-system can be “safely and accurately used by electors at primaries and

elections.” O.C.G.A. § 21-2-379.2(b).

                                        190.

      Defendant Kemp abused his discretion by not reexamining Georgia’s DRE-

Based Voting System before the Runoff, in response to the request of electors

pursuant to O.C.G.A. § 21-2-379.2(a), or initiating the reexamination process sua

sponte before the Runoff, pursuant to O.C.G.A. § 21-2-379.2(a)..

                                        191.


                                         76
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 77 of 158




       Abuse of discretion is found when a public official acts in an “arbitrary,

capricious, and unreasonable” manner. Burke Cty. v. Askin, 291 Ga. 697, 701

(2012) (citing Massey v. Georgia Bd. of Pardons & Paroles, 275 Ga. 127, 128(2)

(2002)). This includes acting in such an arbitrary, capricious way that their abuse

of discretion “amounts to a failure on the part of the officer to exercise his

discretion at all.” S. View Cemetery Ass'n v. Hailey, 199 Ga. 478, 483 (1945).

                                            192.

       Here, well before the Runoff, Kemp was informed of two breaches into CES

system, that Russian agents were attempting to hack to U.S. elections, and overall

that Georgia’s DRE Based Voting System was highly susceptible to attack based

on the allegations stated throughout this Complaint. At the same time, Kemp

admitted earlier this month that “anything is possible”28 when it comes to Russians

tapping into Georgia’s voting system.

                                            193.

       Despite this, Kemp declined help from the Department of Homeland

Security to help protect Georgia’s DRE-based voting system in August 2016 (one

of only two states to do so). He did because he does not “necessary believe” and--

to this day--remains unconvinced that hacking of Georgia’s elections is a real

28
   Kim Zetter, Will the Georgia Special Election Get Hacked, Politico, June 14, 2017,
http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-election-get-
hacked-215255 , (last visited June 30, 2017)


                                              77
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 78 of 158




threat. About the issue he stated, “I think it was a politically calculated move by

the [Obama] administration.”29 His rationale for his belief? “The question remains

whether the federal government will subvert the Constitution to achieve the goal of

federalizing elections under the guise of security. […] Designating voting systems

or any other election system as critical infrastructure would be a vast federal

overreach, the cost of which would not equally improve the security of elections in

the United States.”30

                                           194.

       Such beliefs are arbitrary in that they are based on a solely personal belief,

capricious in that they could change on a whim, and unreasonable in that they are

not rooted in fact and contrary to concerns expressed to him by his constituents,

securities experts, and the Department of Homeland Security. They are so

arbitrary, capricious, and unreasonable that they “amounts to a failure on the part

of the officer to exercise his discretion at all.”




29
   Paul Waldman, How Democratic Timidity May Have Helped Trump Get Elected, Washington
Post, June 23, 2017, https://www.washingtonpost.com/blogs/plum-line/wp/2017/06/23/how-
democratic-timidity-may-have-helped-trump-get-elected/?utm_term=.d36b828f5d08 (last visited
July 3, 2017)
30
   Allya Sternstein, At Least One State Declines Offer For DHS Voting Security, NextGov,
August 25, 2016, http://www.nextgov.com/cybersecurity/2016/08/some-swing-states-decline-
dhs-voting-security-offer/131037/ (last visited July 3, 2017)


                                            78
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 79 of 158




                                        195.

      Georgia’s DRE-Based Voting System in question here was used in the 2016

General Election, the Special Election, and the Runoff. Upon information and

belief, Kemp plans to use the system again in remaining 2017 elections, and

beyond—despite being more than aware of the risk the system imposes on his

constituents’ right to vote.

                                        196.

      The Secretary of State is clearly charged with ensuring the safety and

accuracy of our elections, but willfully denies known threats to Georgia’s election

process (against the wise counsel of the Federal Government, security experts, and

his constituents). His misinformation and false assurances delivered to the General

Assembly likely caused elected representatives to rely on Kemp’s representations

Kemp's beliefs and political posturing has caused him to do essentially nothing to

ensure the safety and accuracy of Georgia's voting systems. Such inaction is an

abuse of discretion. See S. View Cemetery Ass'n v. Hailey, 199 Ga. 478, 483

(1945).

                                        197.

      Where the question is one of public right and the object is to procure the

enforcement of a public duty, no legal or special interest need be shown, but it




                                         79
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 80 of 158




shall be sufficient that a plaintiff is interested in having the laws executed and the

duty in question enforced. O.C.G.A. § 9-6-24.

                                         198.

       The Court has full and complete power to issue mandamus under O.C.G.A.

§ 9-6-20, which provides, “All official duties should be faithfully performed; and

whenever, from any cause, a defect of legal justice would ensue from a failure to

perform or from improper performance, the writ of mandamus may issue to compel

a due performance, if there is no other specific legal remedy for the legal rights.”

                                         199.

       Apart from this Court’s issuance of the writ of mandamus, Plaintiffs have no

other legal remedy to compel enforcement of Defendant Kemp’s official, public

duty to conduct the reexamination required by O.G.C.A § 21-2-379.2(b). They

have attempted multiple times to have Defendant Kemp reevaluate the system, but

he has resisted their request, and claimed impractical fees and timelines when he

did respond, as a reason not to reevaluate. Additionally, Defendant Kemp can act

on his own accord. Electors cannot force him to act in that capacity. Only the Court

can.

                             PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs ask this court:




                                          80
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 81 of 158




   ● to grant declaratory relief deeming that Defendants have violated the

      Georgia Constitution, 42 U.S.C. § 1983, Georgia’s election code, including

      its recanvassing and certification regulations and provisions;



   ● to grant injunctive relief requiring that certification of results of the recent

      Congressional District 6 elections and the election itself be declared void ab

      initio, and enjoining the future use of Georgia’s DRE-Based Voting System;

      and



   ● to issue a writ of mandamus for Defendant Kemp to fulfill his public duty to

      reexamine this system and its fundamental irregularities; and to grant all

      other relief this court deems proper.



Respectfully submitted this 3rd day of July 2017.


/s/ Bryan M. Ward____
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Georgia Bar No. 736656
Marvin Lim, Esq.
Georgia Bar No. 147236
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                                          81
     Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 82 of 158




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                                    82
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 83 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 84 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 85 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 86 of 158
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 87 of 158




                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

DONNA CURLING, an individual, et al.          )
                                              )
                Plaintiffs,                   )
                                              )
                                              )          CIVIL ACTION
                                              )          FILENO.:
BRIAN P. KEMP, in his individual capacity )
and his official capacity as Secretary   of   )
State of Georgia and Chair of the             )
STATE ELECTION BOARD, et al.,                 )
                                              )
                Defendants.                   )

                                          \.ERIFICATION

I, LAURA DIGGES, plaintiff in the above-styled case, personally appeared before the undersigned

notary public, duly authorized to administer oaths, and state under oath that every fact alleged in

the VERIFIED COMPLAINT FOR DECLARATORY RELIEF, INJUNCTIVE RELIEF,

AND WRIT OF MANDAMUS, attached hereto, is true and comect to the best of my knowledge,

information, and beliei except for any fact that also states a legal conclusion.


oated this 30      day of June 2017




                                              LAURA DIGGES

            ds ubscribed before me
               of June 2017.



       Public                                              A Y S. lE88t0s
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                                                            Cob! County
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Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 88 of 158
        Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 89 of 158




                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

DONNA CURLING, an individual, et al.          )
                                              )
                Plaintiffs,                   )
                                              )
       �                                      )      CIVIL ACTION
                                              )      FILE NO.:
BRIAN P. KEMP, in his individual capacity)
and his official capacity as Secretary of )
State of Georgia and Chair of the         )
STATE ELECTION BOARD, et al.,             )
                                              )
                Defendants.                   )

                                        VERIFICATION

I, RJCARDO DAVIS, plaintiff in the above-styled case, personally appeared before the

undersigned notary public, duly authorized to administer oaths, and state under oath that every fact

alleged in the VERIFIED COMPLAINT FOR DECLARATORY RELIEF, INJUNCTIVE

RELIEF, AND WRIT OF MANDAMUS, attached hereto, is true and correct to the best of my

knowledge, information, and belief, except for any fact that also states a legal conclusion.


Dated this   -,D day of June 2017




    L
Sworn to and subscribed before me
this      day of June 2017.
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 90 of 158




                    EXHIBIT A
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 91 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 92 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 93 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 94 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 95 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 96 of 158




                    EXHIBIT B
                   Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 97 of 158


Subject: Re: Traﬃc footprints

Got it, thanks!

Thanks

Andy Green, MSIS

Lecturer of Informa^on Security and Assurance
BBA-ISA program coordinator
KSU Student ISSA chapter faculty sponsor
KSU Oﬀensive Security Research Club faculty sponsor

Michael J. Coles College of Business
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hhp://coles.kennesaw.edu/faculty/green-andrew.php



Mr. Andrew Green | Coles College of Business | Kennesaw ...
coles.kennesaw.edu

Publications. Hands-on Information Security Lab Manual, Fourth Edition; Addressing Emerging
Information Security Personnel Needs. A Look at Competitions in ...




Ph: 470-578-4352
Burruss Building, Room #490

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From: "Chris Grayson" <cegrayson3@gmail.com>
To: "agreen57" <agreen57@kennesaw.edu>
Sent: Thursday, March 2, 2017 7:58:49 PM
Subject: Traﬃc footprints

Hey Andy,

As discussed, here are the ^mes at which we generated traﬃc to the web server:

Wednesday 02/22/17 - 6:00PM - 12:00AM EST - traﬃc originated from an Atlanta IP address and an IP address from
Switzerland
Friday 02/24/17 - 12:00PM - 8:00PM EST - traﬃc originated from an Atlanta IP address
Tuesday 02/28/17 - 5:00PM - 12:00AM EST - traﬃc originated from an Atlanta IP address
Wednesday 03/01/17 - 7:00PM - 10:00PM EST - traﬃc originated from an Atlanta IP address

All of this traﬃc was either (1) browsing open directories or (2) retrieving ﬁles from those directories.

Best regards,

Christopher Grayson
Founder, Web Sight.IO
Sonware and Security Engineer
(678) 462 - 9770

                                                                                                                 Page 3 of 4
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 98 of 158




                    EXHIBIT C
          Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 99 of 158

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STATE
    UN1ti~sn~                                                                    Center for Election Systems
UITS Information Security Office                                 Incident Date: March 1, 2017



Background

On Wednesday March 1st at 9:29pm, a member of the KSUUITSInformation Security Office was
contacted by a KSUfaculty member regarding an alleged breach of data on the elections.kennesaw.edu
server. UITSstaff validated the vulnerability and notified the CIO regarding the incident. The data
contained hosted on the identified server was outside the scope of student information and no student
records are associated with this alleged breach. Log analysis identified that the largest file identified
contained voter registration information for 6.7 million individuals.

Actions Taken

Within an hour of initial contact, the vulnerability was confirmed and firewall rules established to block
accessto elections.kennesaw.edu. On March 2, 2017, UITS-ISOpulled apache and Drupal logs, reported
incident to USG,reset passwords, and seized the elections.kennesaw.edu server. On March 3, 2017, the
FBIwas engaged and the impacted server was turned over to FBIfor investigation.

IT staff which were reporting within the Center for Election systems were realigned to report within the
University Information Technology Services Information Security Office and a walkthrough of the area
performed to validate the isolated internal network's segregation from the public network. The
elections backup server- unicoi - was removed from the Center and physically secured within UITSISO
Evidence Storage.

On March 30th , KSUemployees (President Olens, CIO,AVP Strategic Communications, Legal Counsel,
CISO,CESRepresentatives) met with the FBIand USAttorney's Office regarding the outcome of the
Federal Investigation. Chad Hunt shared that the investigation had yielded no data that "escalates to the
point of breach". KSUReleaseda statement to the media on 3/31/17 as follows:

         KENNESAW,Ga (Mar. 31, 2017)-Kennesaw          State officials report there is no indication
         of any illegal activity and that no personal information          was compromised         following
         unauthorized       access of a dedicated server at the Center for Election Systems. KSU
         officials were briefed yesterday by the Federal Bureau of Investigation                (FBI).

         University officials were first notified of the situation       on March 1 and immediately
         isolated the server. Officials also contacted the Office of the Secretary of State and
        federal law enforcement,       which prompted        the FBI investigation.     According to the
         FBI, the server was accessed by an outside security researcher. No student data was
         involved.

        "We are working with experts within the University System of Georgia and an
        outside firm to validate that KSU's systems are secured and meet best practice
        standards,"      said KSU President Sam Olens. "We greatly appreciate the speed and
        dedication      of the FBI and the U.S. Attorney's     Office in helping us resolve this issue."




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          Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 100 of 158

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STATE
    UNI~i~sn~                                                                    Center for Election Systems
UITS Information Security Office                                 Incident Date: March 1, 2017
Financial Impact

None, although if it was determined that the data hosted on elections.kennesaw.edu was maliciously
disclosed, the notification and credit monitoring would have been approximately $2 million.

Successes

The following list describes those actions or systems that worked as intended, or better than
anticipated, during the execution of incident and breach response activities:

              o    The UITS ISO Incident Response process worked as intended, isolating the server and
                   preserving evidence for later analysis and hand-off to federal authorities.
              o    The time between initial report and the server being isolated was approximately 60
                   minutes.
              o    The open dialog between the faculty incident reporter and the Office of the CIO staff
                   facilitated timely notification and rapid response time.
              o    Having regular conversations with Legal Affairs, Strategic Communications, Center for
                   Election Systems staff, and the Office of the CIO ensured that all parties were informed
                   on developments, allowing for individual planning in each respective area.

Opportunities for Improvement

     1.   Issue: Poor understanding of risk posed by The Center for Election Systems IT systems. While a
          previous server scan and an external researcher had helped UITS understand the high threat
         level of CESsystems, the lack of understanding the hosted data set led to an incomplete picture
         of the asset value. This resulted in the existence of a high risk server (High Asset Value/ High
         Threat Level) which should have been prioritized.
     Action item(s): An objective 3'' party was hired to conduct a threat assessment for externally-facing
     applications. In addition, funding was secured to extend the current KSUvulnerability scanning
     engine to allow for external scans. Once these scans are complete, a thorough analysis of all
     vulnerable systems will quantify the threat level and remediation plans will be developed (and
     incorporated into remediation projects)
     Action Item Owner(s): UITS Information Security Office


     2.   Issue: Elections webserver and Unicoi backup server are running a vulnerable version of Drupal
          and vulnerable to exploitation.
     Action Items: Elections (externally-facing) was seized immediately and Unicoi (isolated network)
     was seized thereafter. Both were placed in ISOSecure Storage. UITSprovisioned a dedicated virtual
     server, FS-ES,and business documents were moved to a newly provisioned server. This share is
     limited the CESsubnet and CESActive Directory group users. Server administrators are limited to 2
     UITS 155Staff Members.
     Action Item Owner: UITS-15O,UITS-155,CESStaff


     3.   Issue: CESconfidential data handling processes were not defined.
     Action Items: Business processes were developed, documented, and implemented to ensure
     confidential data is handled appropriately. CEStechnicians were issued Iron Key encrypted hard


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                                                                                                     04/18/17
          Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 101 of 158

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STATE
    UN&i~SITA                                                                    Center for Election Systems
UITS Information Security Office                                 Incident Date: March 1, 2017
     drives and secure FTPtransfers established with Georgia Secretary of State's Office. To date, all
     processes have been approved by the Georgia Secretary of State's Office.
     Action Item Owner: UITS-I5O,CESStaff, Georgia Secretary of State Office


     4.   Issue: Center for Election System IT staff is not aligned with the University Information
          Technology Services, creating a scenario in which institutional risk could be accepted without
          CIO awareness.
     Action Items: CESIT staff reporting structure realigned to mirror UITSTSSmodel. CESIT staff will
     report directly to UITS-I5Owhile directly supporting the CES. Additionally, all processes will align
     with USGand KSUdata security policies. Strategically, UITS is launching a project to engage all
     external IT in order to better understand university-wide IT risk.
     Action Item Owner: UITS-I5O,CESStaff


     5.   Issue: Room 105a, the elections private network data closet, was not latching properly due to
          lock/door misalignment.
     Action Items: CISOcontacted Chief of Police to have lock and door aligned. Work was completed
     within one business day. ISOto develop processes to review access logs on a scheduled basis.
     Action Item Owner: UITS-I5O. KSU UPD, CESStaff


     6.   Issue: The elections private network data closet contains a live network jack to the
             · ' Q bl fZ >-(Public network)
     Action Items: UITS-I5Oshould acquire color-coded Ethernet Jack block-outs to "lock" all ports in the
     data closet to the public network AND to "lock" all ports to the private network outside the data
     closet. Key's should be maintained by 155and ISO, necessitating consulting with UITSstaff before
     connecting devices.
     Action Item Owner: UITS-I5O, UITS-I55


     7.   Issue: A number of IT Assets within the Center for Elections Systems have reached end-of-life
          and need to be replaced or migrated to different infrastructure.
                  1. Rackmount UPS Battery backups (one displaying warning light)
                  Recommendation: Replace batteries as needed and move under UITS 155management
                  2. 3com Switches -Age 10+ years -- No Support -- L2 only
                  Recommendation: Replace and move under UITS 155management
                  3. Dell 1950 (Windows Domain Controller) -Age 10+ years
                  Recommendation: Surplus
                  4. Dell PowerEdge R630 -Age 1 year
                  Recommendation: Migrate services from Dell 1950 and move under UITS 155
                  management on CESIsolated Network
                  5. EPIC-Vision Computer-Age Unknown - Ballot creation box
                  Recommendation: Continue as I5O/CESmanaged
                  6. EPICFiles - Dell 1900 -Age 6+ years - Ballot backups
                  Recommendation: Surplus
                  7. NAS - Dell 1900 -Age 6+ years - CESIsolated Network NAS
                  Recommendation: Surplus
                  8. elections.kennesaw.edu - Age 5 years - Dell PowerEdge R610


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           Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 102 of 158

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          STATE
                                                                                 Center for Election Systems
UITS Information Security Office                                 Incident Date: March 1, 2017
                 Recommendation: Format and reinstall on CESIsolated Network as NAS
                 9. unicoi.kennesaw.edu -Age 6+ years. Dell PowerEdge 1950
                 Recommendation: Surplus
                 10. Web server backup
                 Recommendation: Surplus
     Action Item Owner: UITS-ISO,UITS-ISS,CESStaff

     8.    Issue: An operating system and application security assessment has not been conducted on the
           CESIsolated Network
     Action Items: UITS-ISOshould perform a stand-alone security assessment of the CESIsolated
     Network using a laptop-based scanning engine. Servers and workstations should be hardened based
     on the scan results and regular testing of the network scheduled.
     Action Item Owner: UITS-ISO,UITS-155,CESStaff

     9. Issue: A wireless access point was found when UITS did a walkthrough of the CESHouse
     Action Items: Understanding the risk that a wireless access point presents to the CESisolated
     network, UITS-ISOshould prioritize CESfor wireless network upgrade and put guidelines in place
     which prohibit the use of non-KSU wireless devices in the house.
     Action Item Owner: UITS-ISO,UITS-ISS


     10. Issue: Inconsistent port colors in House 57. Data outlets throughout the building have different
           color bezels to indicate which network is public and which is private:
                   Red= analog voice/phone
                   Green= KSUdata public network
                   Blue= Elections private network
                   White= Elections 2nd private network
          Since the original cabling installation the two private networks established for elections now act
          as a single private network. In room 105a, the blue cables terminate to one patch panel and the
          white cables terminate to another patch panel. They have connected jumpers from both of
          these patch panels to the same switch thus eliminating any separation by the colors Blue or
          White.
     Action Items: Jacks for the public and private network should be reinstalled to conform to campus
     color standards. Additionally, jacks from the public and private networks should be on different
     panels. The total cost of this change will be approximately $3,000.
     Action Item Owner: UITS-ISO,UITS-ISS




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Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 103 of 158




                     EXHIBIT D
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 104 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 105 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 106 of 158




                     EXHIBIT E
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 107 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 108 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 109 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 110 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 111 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 112 of 158




                     EXHIBIT F
                    Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 113 of 158




                       OFFICE OF SECRETARY OF STATE

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                                         /ie,et'Icerti/2that                                                         .   ,


      the attached nine pages , labeled A through I, are true and correct copies

      of voting equipment certifications; all as same appear on file in this office . -~




 ,---------------                         IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                                  the seal of my office, at the Capitol, in the C ity of At lanta,
                                                  this 18th day of April , in the yea r of our Lord Two
                                                  Thousand and Eight and of the Independence of the United
                                                  States of America the Two Hundred and Th irty-Second.




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                                                            Karen C. Handel, Secretary of State
                    Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 114 of 158




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   the attached one ( 1) page constitutes a true and correct copy of the

   certification of the AccuVote TS R6 Voting System, consisting of GEMS

   Version 1.1822G, A VTS firmware version 4.5.2, AVOS firmware version

   1.94W, Encoder software1 .3.2, and Key Card Tools 1.0.1, manufactured

   by Diebold Election Systems, Inc., 1611 Wilmeth Road, McKinney, Texas

   75069, for use by the electors of the State of Georgia in all primaries and

   elections as provided in Georgia Election Code 21-2 ; all as same appear




  ~"v--,;....___,   __   ____. ____   .....--...~...--..---.--------.IN'l'ESTIMONY WHEREOF , I have hereunto set my hand and affixed
                                                                              the sea l of my office, at the Cap itol, in the C ity of At lanta,
                                                                              this 27t h da y of November, in the yea r of o ur Lo rd Two
                                                                              Thou sand and Seve n and of th e Independenc e of the United
                                                                              State s of America the Two Hundr ed and Th irty-Seco nd.




                                                                                       ~~fu/JJ
                                                                                   Karen C. Handel, Secretary of State
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           Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 115 of 158




             OFFICE OF SECRETARY OF STATE

_JJ Cathi/ Cox)Secretar'jo/ St ate o/ theSta te o/ (feor9iaJdohereb'j
                                    certi/rJthat
 The AccuVote TS R6 and the AccuVote TSX Voting system, consisting of
 GEMS version 1.18.22G, AVTS firmware version 4 .5.2, AVOS
 version1 .94w, Encoder software version 1.3.2, Key Card Tool 1.01, and
 ExpressPoll version 1.2.53, manufactured by Diebold Election Systems ,
 Inc., 1253 Allen Station Parkway, Allen , Texas 75002, has been
 thoroughly examined and tested and found to be in compliance with the
 applicable provisions of the Georgia Election Code, the Rules and
 Regulations of the State Election Board, and the Rules of the Secretary of
 State , and as a result of this inspection , it is my opinion that this kind of
 Direct Record Electronic voting system and its components can be safely
 used by the electors of this state in all primaries and elections as provided
 in Georgia Election Code 21-2; provided however, I hereby reserve my
 opinion to reexamine this Direct Record Electronic voting system and its
 components at anytime so as to insure that it continues to be one that can
 be safely used by the voters of this state.--~--~~--~~--~~                      :::,-<»



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                    IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                         the sea l of my office, at the Capi tol, in the City of Atl anta,
                                         this I 0th day of July, in the year of our Lord Two Thousan d
                                         and S i x a nd of t h e I n d epende n ce of th e United
                                         States of America the Two Hundred and Thirty-F irst.
           Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 116 of 158




            OFFICE OF SECRETARY OF STATE

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  For the purposes of a Conditional Interim Certification the AccuVote TS
  R6 and the AccuVote TSX Voting System, consisting of GEMS version
   1.18.24, AVTS firmware version 4.6.4, and AVTS voting stations with the
  attached AccuView Printer Module (The following components of the
  Georgia voting system were included in the test to verify compatibility:
  GEMS 1.18.22G, AccuVote TS R6 voting stations with firmware AVTS
  4.5.2, AccuVote TSX voting stations with AccuVote firmware AVTS 4.5 .2,
  and ExpressPoll 4000 1.2.0.), manufactured by Diebold Election Systems,
  Inc., 1253 Allen Station Parkway, Allen, Texas 75002, has been
  thoroughly examined and tested and found to be in compliance with the
  applicable provisions of the Georgia Election Code, the Rules and
  Regulations of the State Election Board, and the Rules of the Secretary of
  State, and as a result of this inspection, it is my opinion that this kind of
  Direct Record Electronic voting system and its components can be safely
  used by the electors of this state in all primaries and elections as provided
  in Georgia Election ·code 21-2; the Conditional Interim Certification shall
  expire on December 31. 2006 ______    ____

                                IN TESTIMONY WHEREOF, I have hereunto set my hand and affixe d
                                        th e sea l of my offi ce, at the Capitol, in the City of A tlanta ,
                                        thi s 9th da y of Au gust , in the yea r of ou r Lo rd Two
                                        Th ousa nd a nd Six and of the Indepen dence of the U nite d
                                        States of Ame rica the Two Hundred and Thirty -First.
         Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 117 of 158




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     The AccuVote TS R6 and the AccuVote TSX Voting system , consisting of
     GEMS version 1.18.22G , A VTS firmware version 4 .5.2, AVOS
     version1 .94w , Encoder software version 1.3.2, Key Card Tool 1.01, and
     ExpressPoll version 1.2.53 , manufactured by Diebold Election Systems ,
     Inc., 1253 Allen Station Parkway , Allen, Texas 75002 , has been
     thoroughly examined and ·tested and found to be in compliance with the
     applicable provisions of the Georgia Election Code, the Rules and
     Regulations of the State Election Board, and the Rules of the Secretary of
     State, and as a result of this inspection, it is my opinion that this kind of
     Direct Record Electronic voting system and its components can be safely
     used by the electors of this state in all primar ies and elections as provided
     in Georgia Election Code 21-2; provided however, I hereby reserve my
     opinion to reexamine this Direct Record Electronic voting system and its
     components at anytime so as to insure that it continues to be one that can
     be safely used by the vote rs of th is state .        ----~---~- - - -----:
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                                   ______ ____ IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                                   the sea l of my office, at the Cap itol, in the City of Atlanta ,
                                                   this 14th day of April , in the year of our Lord Two
                                                   Thousand and Six and of the Independe nce of the United
                                                   States of America the Two Hundred and Thirtieth .
            Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 118 of 158




            OFFICE OF SECRETARY OF STATE

.J, Cath';jCox,Secretar';jo/ State o/ theState o/ {Jeorgia,dohereb'f
                                   certi/rJ
                                         that
 The AccuVote TS R6 Voting system , consisting of GEMS version
 1.18.22G, AVTS firmware version 4.5.2, AVOS version1 .94w, Encoder
 software version 1.3.2, Key Card Tool 1.01, and ExpressPoll version
 1.2.53, manufactured by Diebold Election Systems , Inc., 1611 Wilmeth
 Road, McKinney, Texas 75069, has been thoroughly examined and tested
 and found to be in compliance with the applicable provisions of the
 Georgia Election Code, the Rules and Regulations of the State Election
 Board, and the .Rules of the Secretary of State, and as a result of this
 inspection, it is my opinion that this kind of Direct Record Electronic voting
 system and its components can be safely· used by the electors of this
 state in all primaries and elections as provided in Georgia Election Code
 21-2; provided however, I hereby reserve my opinion to reexamine this
 Direct Record Electronic voting system and its components at anytime so
 as to insure that it continues to be one that can be safely used by the
                     --~ ~-
 voters of this state.



                       ---      IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                        the seal of my office, at the Cap itol , in the City of Atlan ta,
                                        this 20th day of September, in the yea r of ou r Lord Two
                                        Thousand and Five and of the Ind epende nce of the United
                                        States of America the Two Hundred and Thirtieth.
                  Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 119 of 158




                OFFICE OF SECRETARY OF STATE

J-) Cath'j Cox)S ecretar'j o/ St ate o/ the St ate o/ (}eor9ia)Johereb'j
                                                  certi/2that
  The AccuVote TS R6 Voting system, consisting of GEMS version
  1.18.22G, A VTS firmware version 4.5 .2, AVOS version 1.94w, Encoder
  software version 1.3.2 , Key Card Tool 1.01, and ExpressPoll version
  1.2.53, manufactured by Diebold Election Systems, Inc., 1611 Wilmeth
  Road , McKinney, Texas 75069, has been thoroughly examined and tested
  and found to be in compliance with the applicable provisions of the
  Georgia Election Code, the Rules and Regulations of the State Election
  Board , and the Rules of the Secretary of State, and as a result of this
  inspection, it is my opinion that this kind of Direct Record Electronic voting
  system and its components can be safely used by the electors of this
  state in all primaries and elections as provided in Georgia Election Code
  21-2 ; provided however, I hereby reserve my opinion to reexamine this
  Direct Record Electronic voting system and its components at anytime so
  as to insure that it continues to be one that can be safely used by the
  vote rs of this state. ---------~-----------------------------------------------------::::::::::::::::,,::::--


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                     -- ~               -      IN TESTIMONY WHERE OF, I have hereunto set my hand and affixed
                                                       the seal of my off ice, at th e Capi to l, in the City of Atlant a,
                                                       thi s 20th day of Septem ber, in the yea r of ou r Lo rd Two
                                                       Thousand and Five and of the Independ ence of the Un ite d
                                                       States of America the Two Hundred and Thirtieth.
              Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 120 of 158




             OFFICE OF SECRETARY OF STATE

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                                         certi/tJthat
 the AccuVote TS R6 Voting System , consisting of GEMS Version
  1.18.22G, AVTS firmware version 4.5 .2, AVOS firmware version 1.94W ,
 Encoder software 1.3.2, and Key Card Tools 1.0.1, manufactured by
 Diebold Election Systems , Inc., 1611 Wilmeth Road, McKinney , Texas
 75069 , has been thoroughly examined and tested and found to be in
 compliance with the applicable provisions of the Georgia Election Code,
 the Rules of the State Elections Board and the Rules of the Secretary of
 State, and as a result of this inspection , it is my opinion that this kind of
 Direct Record Electronic voting system and its components can be safely
 used by the electors of this state in all primaries and elections as provided
 in Georgia Election Code 21-2; provided, however , I hereby reserve my
 option to reexamine this Direct Record Electronic voting system and its
 components at anytime so as to insure that it continues to be one that can
 be safely used-by the voters of this state.,~-------------------------------------------~




               ----------------------~     IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                             the sea l of my office , at the Ca pit ol, in the City of Atlanta ,
                                             thi s 3 1st day of December , in th e year of ou r Lord Two
                                             T housa nd and Four and of the Ind epe nde nce of the Un ited
                                             State s of America the Two Hundred and Tw e nty -N inth .
                     Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 121 of 158




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<{]-~.J              do~                                   ~ tftat"                  the AccuVote TS R6 Voting

   System, consisting of GEMS Version 1.18.15, and the AVTS firmware, Version 4.3.14,
   manufactured by Diebold Election Systems, Inc., 1611 Wilmeth Road, McKinney, Texas
   75069, has been thoroughly examined and tested and found to be in compliance with the
   applicable provisions of the Georgia Election Code, the Rules of the State Elections
   Board and the Rules of the Secretary of State , and as a result of this inspection, it is my
   opinion that this kind of Direct Record Electronic voting system and its components can
   be safely used by the electors of this state in all primaries and elections as provided in
   Georgia Election Code 21-2; provided, however, I hereby reserve my option to reexamine
   this Direct Record Electronic voting system and its components at anytime so as to insure
   that it continues to be one that can be safely used by the voters of this state ..........,.____.
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                                                    ._-----   IN TEsTIMONY WHEREOF, I have hereunto set my hand and affixed

                                                                the seal of my office, at the Capitol, in the City of Atlanta, this

                                                                 1oth   day of    February                , in the year of our Lord

                                                                Two Thousand     and Three
                                                                and of the Independence of the United States of America the

                                                                Two Hundred and Twenty-ninth
                                         Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 122 of 158


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             System, consisting of the A VTS firmware, Version 4.1 .11, manufactured by Diebold
             Election Systems, Inc., 1611 Wilmeth Road , McKinney, Texas 75069, has been
             thorou ghly examined and tested and found to be in compliance with the applicable
             pro visions of the Georg ia Elect ion Code , the Rules of the State Election s Board and the
             Rules of the Secretary of State, and as a result of this inspec tion , it is my opinion that this
             kind of Direct Record Electronic voting system and its components can be safe ly used by
             the electors of this state in all primari es and elections as provided in Georgia Election
             Code 2 1-2; provided , however, I hereby reserve my option to reexamine this Direct
             Record Electronic voting system and its components at anytime so as to insure that it
             continues to be one that can be safe ly used by the voters of this state . .,,.....,.~~--- ...........
                                                                                                             ....-...~




                                                                     IN TESTIMONYWHEREOF,I have hereunto set my hand and affixed

                                                                          the sea l of my office, at the Capitol, in the City of Atlanta, this

                                                                           23 th day of     May                     , in the year of our Lord

                                                                          Two Thousand      and Two
                                                                          and of the Independence of the United States of America the

                                                                          Two Hundred and Twenty -sixth




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Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 123 of 158




                     EXHIBIT G
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 124 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 125 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 126 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 127 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 128 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 129 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 130 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 131 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 132 of 158




                     EXHIBIT H
            Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 133 of 158




May 24, 2017


The Honorable Brian Kemp
214 State Capitol
Atlanta, Georgia 30334


Dear Secretary Kemp,
On March 14th we sent a letter to you expressing grave concerns regarding the security of
Georgia’s voting systems and requesting transparency from your office concerning key questions
about the reported breach at Kennesaw State University Center for Election Systems (KSU).
The FBI has reportedly closed its investigation into the breach at KSU and will not be pressing
federal charges1 but regrettably little more is known. We remain profoundly concerned about the
security of Georgia’s votes and the continued reliance on Diebold paperless touchscreen voting
machines for upcoming elections.2
The FBI’s decision not to press charges should not be mistaken for a confirmation that the voting
systems are secure. The FBI’s responsibility is to investigate and determine if evidence exists
indicating that federal laws were broken. Just because the FBI concluded this hacker did not
cross that line does not mean that any number of other, more sophisticated attackers could not or
did not exploit the same vulnerability to plant malicious software that could be activated on
command. Moreover, the FBI’s statement should not be misinterpreted to conclude that KSU or
the Georgia voting system do not have other security vulnerabilities that could be exploited by
malicious actors to manipulate votes.
Any breach at KSU’s Election Center must be treated as a national security issue with all
seriousness and intensity. We urge you to engage the Department of Homeland Security and the
US Computer Emergency Readiness Team (CERT) to conduct a full forensic investigation. We
cannot ignore the very real possibility that foreign actors may be targeting our election
infrastructure.
The FBI investigation lasted a mere few weeks. It’s our understanding that this investigation was
designed to determine whether criminal charges should be brought. However, a truly
comprehensive, thorough and meaningful forensic computer security investigation likely would
not be completed in just a few weeks, and it could take many months to know the extent of all
vulnerabilities at KSU, if any have been exploited and if those exploits extended to the voting
systems. Time and again cyber breaches are found to have been far more extensive than initially
reported. When the breach at the Office of Personnel and Management was discovered in March
of 2014 it was not disclosed to the public because officials concluded (incorrectly) that there was
no loss of personal identifying information. The system was then reviewed by a private security


1 Torres, Kristina, “Feds: “Security Researcher” behind KSU data breach broke no federal law,” Atlanta Journal Constitution,
March 31, 2017
2 Diamont, Aaron, “KSU takes back seat in Georgia elections after server hack,” WSB-TV2 Atlanta News, March 17, 2017




                                                                                                Page 1
            Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 134 of 158




firm which determined in May (again incorrectly) that the system’s security was sound.3 One
month later news reports surface warning that 25,000 individuals’ personnel records have been
compromised. A year later, that number had grown to over 21 million plus the fingerprints of 5.6
million employees.4
Problems reported during the April 18th special election have only escalated our concerns.
According to news reports, an error occurred during the uploading of votes in Fulton County on
election night.5 Fulton’s director of registration and elections, claimed that when a memory card
was uploaded to transfer vote totals the operation failed and the system generated an error
message that was “gobbledygook, just junk, just letters.”6 This sort of error message could be the
result of a corrupted database and more investigation is needed.
While one cause of database corruption could be cyber intrusion which should not be ruled out, it
is important to note that it was documented over ten years ago that the Diebold GEMS database
used in Georgia is vulnerable to database corruption, especially if databases are run concurrently7
as reportedly occurred in the recent special election.8 This is because GEMS was built on
Microsoft JETS database software, an outdated database which cannot be relied upon to provide
accurate data.
According to Microsoft:

          “When Microsoft JETS is used in a multi-user environment, multiple client processes are
          using file read, write, and locking operations on a shared database. Because multiple
          client processes are reading and writing to the same database and because JETS does
          not use a transaction log (as do the more advanced database systems, such as SQL
          Server), it is not possible to reliably prevent any and all database
          corruption.”9[Emphasis added.]


The voting system database stores the vote data. Corruption of the database could mean vote
data, or vote counts, are lost. Because Georgia still relies on touchscreen voting machines that do
not provide a paper ballot, if votes data is corrupted, it is possible that vote totals could be lost
and without a physical paper ballot, there is no way to restore and correct the vote count.
This would be an excellent time to move with all expediency to replace Georgia’s outdated
voting system, to adopt paper ballot voting and implement robust manual post-election audits.
The threat that foreign hackers might target the Dutch national elections caused the Netherlands

3 “Timeline: What We Know about the OPM Breach,” NextGov.com, http://www.nextgov.com/cybersecurity/2015/06/timeline-
what-we-know-about-opm-breach/115603/
4 Rosenfeld, Everett, “Office of Personnel and Management: 5.6 million estimated to have fingerprints stolen in breach,” CNBC,

September 23, 2015
5 Kass, Arielle, “’Rare error’ delays Fulton County vote count in 6th district race,” Atlanta Journal Constitution, April 19, 2017
6 Ibid.
7
  Hoke, Candice, Ryan, Thomas, “GEMS Tabulation Database Design Issues in Relation to Voting System Certification
Standards,” https://www.usenix.org/legacy/event/evt07/tech/full_papers/ryan/ryan.pdf
8
  Kass, Arielle, “’Rare error’ delays Fulton County vote count in 6th district race,” Atlanta Journal Constitution, April 19, 2017
9 How to Troubleshoot and to Repair a Damaged Access 2002 or Later Database, (Rev. 6.1 2006) at

http://support.microsoft.com/default.aspx?scid=kb;en-us;283849




                                                                                                 Page 2
            Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 135 of 158




to cancel all electronic voting and hold its March elections on paper ballots. The U.S. has not
responded to the threat of foreign hacking with the same accountability and speed. The former
director of U.S, national intelligence James Clapper recently told Congress that foreign hackers
will continue to attack and we should expect them in the 2018 and 2020 elections.10
We believe this is a profoundly serious national security issue. We stand ready to help you any
way we can to help protect our democratic process and regain the confidence of voters.


Sincerely,


 Dr. Richard DeMillo
 Charlotte B, and Roger C. Warren Professor of Computing
 Georgia Tech

 Dr. Andrew W. Appel                                        Dr. Duncan Buell
 Eugene Higgins Professor of Computer                       Professor, Department of Computer Science
 Science,                                                   & Engineering, NCR Chair of Computer
 Princeton University                                       Science & Engineering,
                                                            University of South Carolina

 Dr. David L. Dill                                          Dr. Michael Fischer
 Professor of Computer Science,                             Professor of Computer Science,
 Stanford University                                        Yale University


 Dr. J. Alex Halderman                                      Candice Hoke
 Professor, Computer Science and Engineering                Co-Director, Center for Cybersecurity &
 Director, Center for Computer Security and                 Privacy Protection and Professor of Law,
 Society                                                    Cleveland State University
 University of Michigan


 Harri Hursti                                               Dr. David Jefferson
 Chief Technology Officer and co-founder,                   Lawrence Livermore National Laboratory
 Zyptonite, and founding partner, Nordic
 Innovation Labs.

 Dr. Douglas W. Jones                                       Dr. Joseph Kiniry
 Department of Computer Science                             Principal Investigator, Galois
 University of Iowa                                         Principled CEO and Chief Scientist,
                                                            Free & Fair



10
     Ng, Alfred, “Ex-intel chief James Clapper warns of more Russian hacks,” CNET, May 8, 2017




                                                                                     Page 3
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 136 of 158




 Dr. Ronald L. Rivest                              Dr. John E. Savage
 MIT Institute Professor                           An Wang Professor of Computer Science,
                                                   Brown University

 Dr. Barbara Simons                                Dr. Philip Stark
 IBM Research (retired),                           Associate Dean, Division of Mathematics and
 former President Association for Computing        Physical Sciences,
 Machinery (ACM)                                   University of California, Berkeley

 Dr. Vanessa Teague
 Department of Computing & Information systems,
 University of Melbourne

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                                                                        EXHIBIT 3 -- Page 4
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 137 of 158




                     EXHIBIT I
           Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 138 of 158




March 15, 2017


The Honorable Brian Kemp
214 State Capitol
Atlanta, Georgia 30334


Dear Secretary Kemp,
On March 3rd it was reported that the Federal Bureau of Investigations is conducting a criminal
investigation into an alleged cyber attack of the Kennesaw State University Center for Election
Systems. According to the KSU Center for Election Systems’ website, “the Secretary of State
authorized KSU to create a Center for Election Systems, dedicated to assisting with the
deployment of the Direct Record Electronic (DRE) voting technology and providing ongoing
support.”1 The Center is responsible for ensuring the integrity of the voting systems and
developing and implementing security procedures for the election management software installed
in all county election offices and voting systems.
The Center has access to most if not all voting systems and software used in Georgia. It also is
responsible for programming these systems and accessing and validating the software on these
systems. It is our understanding that the Center also programs and populates with voter records
the electronic poll books used in polling places statewide. A security breach at the Center could
have dire security consequences for the integrity of the technology and all elections carried out in
Georgia.
In order for citizens to have faith and confidence in their elections, transparency is crucial,
including about events such as the KSU breach, and its extent and severity. While we understand
that this investigation is ongoing and that it will take time for the full picture to emerge, we
request that you be as forthcoming and transparent as possible regarding critical information
about the breach and the investigation, as such leadership not only will be respected in Georgia
but also emulated in other states where such a breach could occur. We expect that you are
already pursuing questions such as the following, regarding the breach, and trust that you will
make public the results of such inquiry:
      1.   Can you estimate when the attacker breached KSU’s system?
      2.   How did the attacker breach KSU’s system?
      3.   How was the breach discovered?
      4.   Which files were accessed?
      5.   Were any files accessed that related to software or "hashes" for the voting machines?
      6.   Is there any evidence that files were modified? If so, which files?
      7.   Had KSU begun ballot builds for the upcoming special election?
      8.   To whom are these attacks being attributed? Could this be an insider attack? Has the FBI
           identified any suspects or persons of interest?


1
    http://elections.kennesaw.edu/about/history.php



                                                                                             Page 1
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 139 of 158




   9. Has the FBI examined removable media for the possibility of implanted malware?
   10. Has the FBI examined the hash or verification program for tampering?
   11. What mitigations are planned for the near- and long-term?
In any state an attack on a vendor providing software and system support with such far-reaching
responsibilities would be devastating. This situation is especially fragile, because of the reliance
on DRE voting machines that do not provide an independent paper record of verified voter
intent. KSU has instead sought to verify the validity of the software on the voting machines by
running a hash program on all machines before and after elections in an effort to confirm that the
software has not been altered. However, if KSU’s election programming were compromised, it
is also possible that the verification program could have been modified to affirm that the
software is correct, even if it were not. This is a risk of using software to check the correctness of
software.
Of course all Georgia elections are important. This month and next include special elections as
well. If these upcoming elections are to be run on DREs and e-pollbooks that are maintained and
programmed by KSU while the KSU Center for Election Systems is itself the subject of an
ongoing criminal investigation, it can raise deep concerns. And today’s cyber risk climate is not
likely to improve any time soon.
We urge you to provide Georgia’s citizens with information they need to confirm before going to
vote that their name will appear correctly on the voter rolls, as well as back-up printed voter lists
in case anomalies appear. Most importantly, we urge you to act with all haste to move Georgia to
a system of voter-verified paper ballots and to conduct post-election manual audits of election
results going forward to provide integrity and transparency to all of Georgia’s elections. We
would be strongly supportive of such efforts and would be willing to help in any way we can.


Sincerely,


 Dr. Richard DeMillo
 Charlotte B, and Roger C. Warren Professor of Computing
 Georgia Tech

 Dr. Andrew W. Appel                                Dr. Duncan Buell
 Eugene Higgins Professor of Computer               Professor, Department of Computer Science
 Science,                                           & Engineering, NCR Chair of Computer
 Princeton University                               Science & Engineering,
                                                    University of South Carolina

 Dr. Larry Diamond                                  Dr. David L. Dill
 Senior Fellow, Hoover Institute and                Professor of Computer Science,
 Freeman Spogli Institute, Stanford University      Stanford University

 Dr. Michael Fischer                                Dr. J. Alex Halderman



                                                                                               Page 2
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 140 of 158




 Professor of Computer Science,                   Professor, Computer Science and Engineering
 Yale University                                  Director, Center for Computer Security and
                                                  Society
                                                  University of Michigan

 Dr. Joseph Lorenzo Hall                          Candice Hoke
 Chief Technologist,                              Co-Director, Center for Cybersecurity &
 Center for Democracy & Technology                Privacy Protection and Professor of Law,
                                                  Cleveland State University

 Harri Hursti                                     Dr. David Jefferson
 Chief Technology Officer and co-founder,         Lawrence Livermore National Laboratory
 Zyptonite, and founding partner, Nordic
 Innovation Labs.

 Dr. Douglas W. Jones                             Dr. Joseph Kiniry
 Department of Computer Science                   Principal Investigator, Galois
 University of Iowa                               Principled CEO and Chief Scientist,
                                                  Free & Fair

 Dr. Justin Moore                                 Dr. Peter G. Neumann
 Software Engineer, Google                        Senior Principal Scientist, SRI International
                                                  Computer Science Lab, and moderator of the
                                                  ACM Risks Forum

 Dr. Ronald L. Rivest                             Dr. John E. Savage
 MIT Institute Professor                          An Wang Professor of Computer Science,
                                                  Brown University

 Bruce Schneier                                   Dr. Barbara Simons
 Fellow and lecturer                              IBM Research (retired),
 Harvard Kennedy School of Government             former President Association for Computing
                                                  Machinery (ACM)

 Dr. Philip Stark                                 Dr. Vanessa Teague
 Associate Dean, Division of Mathematics and      Department of Computing & Information
 Physical Sciences,                               systems, University of Melbourne
 University of California, Berkeley


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                                                                                            Page 3
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 141 of 158




                     EXHIBIT J
               Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 142 of 158




                                      George Balbona
                         180 Mathews Circle, Marietta, Georgia 30067
                    Telephone: (404) 641-9632 Email: balbonag@mac.com


                                          June 26, 2017

PETITION FOR RECANVASS BY ELECTORS IN THE 6th DISTRICT OF GEORGIA

We, citizens of the 6th District of DeKalb County, Georgia, hereby petition a recanvass of all the
memory cards (PCMCIA cards) for the following precincts in DeKalb County:

            Briarwood
            Ashford Park Elem
            Kittredge Elem
            Cross Keys High
            Mt Vernon West


Recounts and Recanvasses are governed by the Rules of the State Election Board of Georgia, Ga
Comp. R. & Regs. 183-1-12-.01:

           (7) Recounts and Recanvass.
                  (a) The election superintendent shall, either of his or her own
                      motion, or upon petition of any candidate or political party
                      or three electors of the county or municipality, as may be
                      the case, order a recanvass of all the memory cards
                      (PCMCIA cards) for a particular precinct or precincts for
                      one or more offices in which it shall appear that a
                      discrepancy or error, although not apparent on the face of
                      the returns, has been made. Such recanvass may be held at
                      any time prior to the certification of the consolidated
                      returns by the election superintendent and shall be
                      conducted under the direction of the election
                      superintendent. Before making such recanvass, the
                      election superintendent shall give notice in writing to each
               Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 143 of 158




                       candidate and to the county chairperson of each party or
                       body affected by the recanvass. Each such candidate may
                       be present in person or by representative and each such
                       political party or body may send two representatives to be
                       present at such recanvass. If upon such recanvass, it shall
                       appear that the original vote count was incorrect, such
                       returns and all papers being prepared by the election
                       superintendent shall be corrected accordingly.


                  (b) The election superintendent shall conduct the recanvass
                      by breaking the seal, if the ballots cards have been sealed,
                      on the container containing the memory cards (PCMCIA
                      cards) and removing those memory cards (PCMCIA cards)
                      for the precinct or precincts for which the recanvass is
                      being conducted. The election superintendent shall then
                      cause the vote totals on each of the memory cards
                      (PCMCIA cards) to be transferred to either an accumulator
                      DRE unit or to the election management system computer.
                      After all of the vote totals from the memory cards
                      (PCMCIA cards) for the precinct or precincts for which the
                      recanvass is being conducted have been entered, the
                      election superintendent shall cause a printout to be made
                      of the results and shall compare the results to the results
                      previously obtained. If an error is found, the election
                      superintendent shall correct the error in the returns
                      accordingly.

We, three electors of the 6th District in DeKalb County, Georgia, hereby petition for a recanvass
of all of the memory cards for the aforementioned precincts because they may contain errors
and discrepancies, which must be examined and corrected.

Respectfully submitted,

            George Balbona
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 144 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 145 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 146 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 147 of 158
Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 148 of 158




                     EXHIBIT K
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 149 of 158




                           Rocky Mountain Foundation
                           7035 Marching Duck Drive E504
                                Charlotte, NC 28210
                                   704 552 1518
                        Marilyn@RockyMountainFoundation.org


June 24, 2017

Fulton County Board of Elections
Hand delivered
(Also via email felisa.cordy@fultoncountyga.gov
richard.barron@fultoncountyga.gov
Dwight.Brower@fultoncountyga.gov )


Dear Fulton County Board of Elections:

As you consider the certification of the 6th Congressional District special election, we
respectfully request that you decline to certify the June 20 election results. Rocky
Mountain Foundation is a non-profit, non-partisan organization focused on election
integrity, and makes this request on behalf of our members who were voters in the June
20 election.

Significant security lapses and system intrusions are known to have plagued the voting
system in the months leading up the election. Fulton County election officials have not
taken responsible forensic measures to analyze whether the system was safe for use,
and in fact, has irresponsibly and repeatedly ignored experts’ warnings that the system
cannot be considered secure or accurate for the conduct of the June 20 election.

The current situation is analogous to a paper ballot election conducted using an
unsecured ballot box left open for the entire election with only sporadic oversight. This
board would be unable to certify the results of such a paper ballot election because of
the security failure of chain of custody of the ballots. The situation today with voters’
electronic ballots is no different. The ongoing significant security failures cannot be
overcome to permit a certification of the election.

We urge you not to ratify the improper conduct of the Superintendent and staff by
certifying the election where legally required controls were absent, security protections
failed, and irregularities in the required protocols exist in numerous areas.

The election results should not be certified for several reasons:

   1. For several months, Fulton County officials have been aware of gravely
      concerning security failures and intrusions, and the lack of even a minimally
      secured voting system. Officials are and have been aware of expert testimony in
   Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 150 of 158




   the June 7 Curling v. Kemp et al. hearing that the security lapses render the
   system insecure and unfit for the conduct of the election. It goes without saying
   that the security failures have placed the results in considerable doubt, and
   results should not be certified. The extensive level of the security failures was
   further exposed in press reports before Election Day of the multiple intrusions
   into the wide-open CES server.
   (http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-
   election-get-hacked-215255 ) Fulton officials ignored the dire warning the reports
   provided. Such misconduct on the part of officials must not be exacerbated by
   certifying the returns.

2. On April 18, Fulton County officials exposed the GEMS server and all memory
   cards to cyber security attack from the Internet by using a common, shared flash
   drive to upload from the GEMS server to the on-line Clarity ENR system, and
   then reusing that flash drive in the GEMS server. Such serious lapses in security
   hygiene must be presumed to have compromised the system, and constitute
   misconduct on the part of the officials. It cannot be reasonably assumed that the
   system was safe for vote recording and tabulation, even if this practice had been
   discontinued on June 20. Exposure to the Internet via shared flash drives
   undermined the security of the entire election.

   Although regulations require direct upload of memory cards to the GEMS server
   for official results with the stated intent of avoiding cyber-attacks in election night
   electronic transmission, the poor security hygiene practices in Fulton County only
   escalate the risk of cyber-attack. The memory cards and the GEMS server were
   exposed and made vulnerable during the election night electronic transmission
   and during the physical upload to the GEMS server after the GEMS server was
   exposed to the Internet through the irresponsible use of shared flash-drives.
   Such misconduct cannot be ignored by this board.

3. The Fulton County collection centers’ use of TSx machines to transmit votes from
   TS machines over modem is not a federally approved standard use of the TSx
   machine, and not certified to be configured, connected and used in this manner,
   which exposes the memory cards and GEMS server to cyber-attacks during
   electronic transmission.

4. The election has been conducted on an illegal voting system that fails to comply
   with Georgia’s election code and related rules. The Secretary of State has not
   certified the system currently in use as a voting system that can be used “safely
   and accurately” as required by §21-2-379.2(a). The most recent system
   certifications by the Secretary of State office have not addressed the safety and
   accuracy of the systems as require by statute, nor have such certifications
   covered the current system configuration. Fulton County has chosen to deploy a
   collection of components that do not meet either the state statutes for an
   approved voting system or the Secretary of State’s regulations for certified voting
   systems.
   Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 151 of 158




5. Physical security of the machines was inadequate prior to the election and during
   early voting. Given the known exposure of Georgia’s system to cyber-attacks and
   the risk of undetected hacking, it was irresponsible of Fulton County Board and
   Superintendent to leave machines exposed to easy access by malicious
   intruders cutting cables and using and replacing tamper-evident seals with
   identical seals. Although current regulations may permit such risky machine
   storage in unsecured areas, the board must not irresponsibly rely on permissive
   and outdated regulations when grave security risks are known to exist.
   Responsible decisions must be made in light of existing circumstances. If a
   hallway were flooded with water, machines would not be placed in the water just
   because the regulations don’t prohibit putting machines in flooded areas. Officials
   have a duty to protect the voting system, and have failed in that duty, in a
   negligent abuse of discretion.

6. The Board cannot reasonably rely on Logic and Accuracy Testing for any level of
   assurance of machine accuracy in the wake of the numerous security failures in
   various areas of the system. As you know, the LAT procedure tests machine
   operations only in “test mode,” and is not a reflection of whether the machine
   performs accurately in “election mode.”

7. On April 18, Fulton County experienced memory card uploading problems to the
   GEMS server. Officials stated that the GEMS server displayed a message that
   the upload was successful, with no error messages received until the export of
   the data from GEMS to the Clarity system. The Superintendent and Board are
   aware that a functioning, certified GEMS server produces error messages. and
   does not permit the upload of improper memory cards. This serious problem of
   no error message signals that the GEMS server is not in safe and proper
   operational condition, and cannot be relied on to generate accurate election
   results.

8. The barrage of recent national news with new information on the extent of
   Russian interference with 2016 elections cannot be ignored given the now
   proven open access to Georgia’s system that existed in 2016 and until at least
   March 2017. The Board and Superintendent must fulfil their legal duty to conduct
   a secure election free from the threats of a compromised system.

9. Despite the Superintendent’s authority to order a paper ballot election given the
   known security threats to the DRE system and illegal system configuration, the
   Superintendent abused his discretion by ignoring multiple expert warnings and
   conducting the election on a system he knew to be insecure and in violation of
   laws and regulations. Mr. Barron was present for testimony in the June 7 Curling
   v. Kemp hearing, and received the pleading including experts’ affidavits in that
   case, and therefore had more than adequate knowledge of the dangers of the
   uncertified system to require that he employ paper ballots for the proper conduct
   of the election.
       Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 152 of 158




This list is not exhaustive, but provides overwhelming rationale that dictates that a
certification of this election cannot be reasonably justified. It supplements the petition for
paper ballots delivered to this board on May 11. (attached.)

Thank you for your consideration in this matter. We are happy to provide further
documentation of our concerns if it would be helpful to you in your deliberations.


Sincerely,

Marilyn Marks
Executive Director
Rocky Mountain Foundation
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 153 of 158




                           Rocky Mountain Foundation
                           7035 Marching Duck Drive E504
                                Charlotte, NC 28210
                                   704 552 1518
                        Marilyn@RockyMountainFoundation.org


June 26, 2017

Director Daniels and DeKalb County Board of Elections
Hand delivered
(Also via email voterreg@dekalbcountyga.gov )

Dear Director Daniels and DeKalb County Board of Elections:

As you consider the certification of the 6th Congressional District special election, we
respectfully request that you decline to certify the June 20 election results. Rocky
Mountain Foundation is a non-profit, non-partisan organization focused on election
integrity, and makes this request on behalf of our members who were eligible voters in
the June 20 election.

Significant security lapses and system intrusions are known to have plagued the voting
system in the months leading up the election. DeKalb County election officials have not
taken responsible forensic measures to analyze whether the system was safe for use,
and in fact, has irresponsibly and repeatedly ignored experts’ warnings that the system
cannot be considered secure or accurate for the conduct of the June 20 election, or the
results you plan to certify today.

The current situation is analogous to a paper ballot election conducted using an
unsecured ballot box left open for the entire election with only sporadic oversight. This
board would be unable to certify the results of such a paper ballot election because of
the security failure of chain of custody of the ballots. The situation today with voters’
electronic ballots is no different. The ongoing significant security failures cannot be
overcome to permit a certification of the election.

We urge you not to ratify the improper conduct by certifying the election where legally
required controls were absent, security protections failed, and irregularities in the
required protocols exist in numerous areas.

The election results should not be certified for several reasons:

   1. For several months, DeKalb County officials have been aware of gravely
      concerning security failures and intrusions, (particularly those at KSU), and the
      lack of even a minimally secured voting system. Officials are and have been
      aware of expert testimony in the June 7 Curling v. Kemp et al. hearing that the
      security lapses render the system insecure and unfit for the conduct of the
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 154 of 158




       election. It goes without saying that the security failures have placed the results
       in considerable doubt, and results should not be certified. The extensive level of
       the security failures was further exposed in press reports before Election Day of
       the multiple intrusions into the wide-open CES server.
       (http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-
       election-get-hacked-215255 ) DeKalb officials ignored the dire warning the
       reports provided. Such misconduct on the part of officials must not be
       exacerbated by certifying the returns.


   2. The election has been conducted on an illegal voting system that fails to comply
      with Georgia’s election code and related rules. The Secretary of State has not
      certified the system currently in use as a voting system that can be used “safely
      and accurately” as required by §21-2-379.2(a). The most recent system
      certifications by the Secretary of State office have not addressed the safety and
      accuracy of the systems as require by statute, nor have such certifications
      covered the current system configuration. DeKalb County has chosen to deploy a
      collection of components that do not meet either the state statutes for an
      approved voting system or the Secretary of State’s regulations for certified voting
      systems.


   3. The Board cannot reasonably rely on Logic and Accuracy Testing for any level of
      assurance of machine accuracy in the wake of the numerous security failures in
      various areas of the system. As you know, the LAT procedure tests machine
      operations only in “test mode,” and is not a reflection of whether the machine
      performs accurately in “election mode.”

   4. The barrage of recent national news with new information on the extent of
      Russian interference with 2016 elections cannot be ignored given the now
      proven open access to Georgia’s system that existed in 2016 and until at least
      March 2017. The Board and Elections Director must fulfil their duty to conduct a
      secure election free from the threats of a compromised system.

   5. Despite the Board’s authority to order a paper ballot election given the known
      security threats to the DRE system and illegal system configuration, the Director
      and Board abused their discretion by ignoring multiple expert warnings and
      conducting the election on a system she knew to be insecure and in violation of
      laws and regulations. The board was represented by attorneys for testimony in
      the June 7 Curling v. Kemp hearing, and received the pleadings in that case, and
      therefore had more than adequate knowledge of the dangers of the uncertified
      and compromised system to require that Ms.Daniels and the board employ paper
      ballots for the proper conduct of the election.

This list is not exhaustive, but provides overwhelming rationale that dictates that a
certification of this election cannot be reasonably justified.
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 155 of 158




Thank you for your consideration in this matter. We are happy to provide further
documentation of our concerns if it would be helpful to you in your deliberations.


Sincerely,


Marilyn Marks
Executive Director
Rocky Mountain Foundation

cc: Bennett Bryan (bdbryan@dekalbcountyga.gov )
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 156 of 158




                           Rocky Mountain Foundation
                           7035 Marching Duck Drive E504
                                Charlotte, NC 28210
                                   704 552 1518
                        Marilyn@RockyMountainFoundation.org


June 26, 2017

Director Eveler and Cobb County Board of Elections
Hand delivered
(Also via email dwhite@hlclaw.com)


Dear Director Eveler and Cobb County Board of Elections:

As you consider the certification of the 6th Congressional District special election, we
respectfully request that you decline to certify the June 20 election results. Rocky
Mountain Foundation is a non-profit, non-partisan organization focused on election
integrity, and makes this request on behalf of our members who were eligible voters in
the June 20 election.

Significant security lapses and system intrusions are known to have plagued the voting
system in the months leading up the election. Cobb County election officials have not
taken responsible forensic measures to analyze whether the system was safe for use,
and in fact, has irresponsibly and repeatedly ignored experts’ warnings that the system
cannot be considered secure or accurate for the conduct of the June 20 election, or the
results you plan to certify today.

The current situation is analogous to a paper ballot election conducted using an
unsecured ballot box left open for the entire election with only sporadic oversight. This
board would be unable to certify the results of such a paper ballot election because of
the security failure of chain of custody of the ballots. The situation today with voters’
electronic ballots is no different. The ongoing significant security failures cannot be
overcome to permit a certification of the election.

We urge you not to ratify the improper conduct of the Superintendent and staff by
certifying the election where legally required controls were absent, security protections
failed, and irregularities in the required protocols exist in numerous areas.

The election results should not be certified for several reasons:

   1. For several months, Cobb County officials have been aware of gravely
      concerning security failures and intrusions, and the lack of even a minimally
      secured voting system. Officials are and have been aware of expert testimony in
      the June 7 Curling v. Kemp et al. hearing that the security lapses render the
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 157 of 158




       system insecure and unfit for the conduct of the election. It goes without saying
       that the security failures have placed the results in considerable doubt, and
       results should not be certified. The extensive level of the security failures was
       further exposed in press reports before Election Day of the multiple intrusions
       into the wide-open CES server.
       (http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-
       election-get-hacked-215255 ) Cobb officials ignored the dire warning the reports
       provided. Such misconduct on the part of officials must not be exacerbated by
       certifying the returns.


   2. The election has been conducted on an illegal voting system that fails to comply
      with Georgia’s election code and related rules. The Secretary of State has not
      certified the system currently in use as a voting system that can be used “safely
      and accurately” as required by §21-2-379.2(a). The most recent system
      certifications by the Secretary of State office have not addressed the safety and
      accuracy of the systems as require by statute, nor have such certifications
      covered the current system configuration. Cobb County has chosen to deploy a
      collection of components that do not meet either the state statutes for an
      approved voting system or the Secretary of State’s regulations for certified voting
      systems.


   3. The Board cannot reasonably rely on Logic and Accuracy Testing for any level of
      assurance of machine accuracy in the wake of the numerous security failures in
      various areas of the system. As you know, the LAT procedure tests machine
      operations only in “test mode,” and is not a reflection of whether the machine
      performs accurately in “election mode.”

   4. The barrage of recent national news with new information on the extent of
      Russian interference with 2016 elections cannot be ignored given the now
      proven open access to Georgia’s system that existed in 2016 and until at least
      March 2017. The Board and Elections Director must fulfil their duty to conduct a
      secure election free from the threats of a compromised system.

   5. Despite the Director’s authority to order a paper ballot election given the known
      security threats to the DRE system and illegal system configuration, the Director
      abused her discretion by ignoring multiple expert warnings and conducting the
      election on a system she knew to be insecure and in violation of laws and
      regulations. Ms. Eveler was present for testimony in the June 7 Curling v. Kemp
      hearing, and received the pleadings in that case, and therefore had more than
      adequate knowledge of the dangers of the uncertified and compromised system
      to require that she employ paper ballots for the proper conduct of the election.

This list is not exhaustive, but provides overwhelming rationale that dictates that a
certification of this election cannot be reasonably justified.
      Case 1:17-cv-02989-AT Document 1-2 Filed 08/08/17 Page 158 of 158




Thank you for your consideration in this matter. We are happy to provide further
documentation of our concerns if it would be helpful to you in your deliberations.


Sincerely,


Marilyn Marks
Executive Director
Rocky Mountain Foundation

cc: Daniel W. White (dwhite@hlclaw.com )
